                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA

  TO:          Julia C. Dudley, Clerk                    FROM:         James W. Reynolds, Clerk
               United States District Court                            United States Bankruptcy Court



  Re:
            Yellow Poplar Lumber Company, Inc.                            17-70882
            Debtor(s)                                                     Bankruptcy Case No.




            Robert T. Copeland                                            N/A
            Appellant                                                     Adversary Case No.
            v.




            John M. Lamie
            Appellee
                                                SUBMISSION SHEET

        ✔   Notice of Appeal filed            Jul 26, 2019                         Doc. No.104

        ✔   File date of Order being appealed           Jul 15, 2019               Doc. No.100 & 101

            Motion for Leave to Appeal filed                                       Doc. No.

            Motion to Withdraw Reference filed                                     Doc. No.
        ✔   Entire Record
                       Designated items of          ✔   Appellant               Appellee
                                                        Cross Appellant         Cross Appellee
            Supplemental Record to USDC Case No.

  Filing Fee Paid                   Yes          No

  In forma pauperis                 Granted      Denied      N/A

  If previous appeal filed list:              USDC Case Number: 1:18-cv-00043

  If related to another appeal list:             USDC Case Number:

 By:                Chad A. Wood                                          Date Submitted: August 21, 2019
                     Deputy Clerk

  APLSub_fillable

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                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA


IN RE:         Yellow Poplar Lumber Company,                 CHAPTER:         7
               Inc.
                                                             CASE NO. :       17-70882
                            DEBTOR(S)

               Robert T. Copeland
                                                             ADVERSARY PROCEEDING NO. N/A
               Plaintiff(s)/Appellant(s)

v.

               John M. Lamie
               Defendant(s)/Appellee(s)


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                                           Court Provided Documents
     Docket        Docket
     Entry         Entry
      Date          No.                                           Description
                             Submission Sheet
                             Copy of Docket Sheet
     7/26/19         104     Notice of Appeal to District Court
     7/26/19         105     Receipt of Notice of Appeal
     7/29/19                 Appeal Transmitted
     7/29/19         107     Notice of Filing Appeal
     7/31/19         108     Civil Case Number 1:19-cv-00029-JPJ and District Judge James P. Jones Assigned
      8/6/19         110     Appellant Designation of Contents for Inclusion in Record on Appeal
                             Transcript Not Ordered


                                             Appellant Designation
     Docket        Docket
      Entry        Entry
      Date          No.                                          Description
     3/29/19         85      Application for Compensation Under Common Fund Theory for Copeland Law Firm,
                             P.C
     4/23/19          91     Supplement to the Motion to Approve Attorney Fees Pursuant to the Common Fund
                             Theory Filed by Max Cody Morris on behalf of Copeland Law Firm, P.C.
     5/1/19           92     Response Filed by John M. Lamie, to the Application for Compensation of Copeland
                             Law Firm, P.C.
     5/1/19           93     Response Filed by Copeland Law Firm, P.C. to the Trustee’s Response to its
                             Application for Compensation
     7/15/19         100     Memorandum Opinion
     7/15/19         101     Order Denying Application for Compensation

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     7/26/19          104     Notice of Appeal to District Court


                                               Appellee Designation

     Docket          Docket
     Entry           Entry
      Date            No.                                           Description
                              N/A




                                                C E R T I F I C A T E:

        I, James W. Reynolds, Clerk of the United States Bankruptcy Court for the Western District of Virginia, do
hereby certify that the documents submitted under this certificate are copies of the record as designated and filed by
the Appellant and Appellee or are copies of original documents of record.

         Copies of this index are being sent electronically or mailed to the Debtor(s), Counsel for Debtor(s), Case
Trustee, U.S. Trustee if applicable, Counsel for Appellant(s) and Appellee(s), Counsel for all other parties of record,
the United States Bankruptcy Judge issuing the order appealed and Law Clerk to the United States Bankruptcy Judge
issuing the order appealed.

              IN TESTIMONY WHEREOF, I hereunto set my hand and affix the Seal of said Court.



Dated: August 21, 2019
                                                                   JAMES W. REYNOLDS, CLERK OF COURT




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                                                                               APPEAL, BUSINESS


                                   U.S. Bankruptcy Court
                            Western District of Virginia (Roanoke)
                              Bankruptcy Petition #: 17-70882
                                                                 Date filed: 06/28/2017
Assigned to: Judge Paul M. Black
Chapter 7
Voluntary
Asset


Debtor                                                   represented by Yellow Poplar Lumber
Yellow Poplar Lumber Company, Inc.                                      Company, Inc.
Wayne T. Horne, guardian ad litem 24217                                 PRO SE
BUCHANAN-VA
Tax ID / EIN: XX-XXXXXXX

Trustee                                                  represented by John M. Lamie
John M. Lamie                                                           Browning Lamie & Gifford
Post Office Box 519                                                     P. O. Box 519
Abingdon, VA 24212-0519                                                 Abingdon, VA 24212-0519
276-628-6165                                                            (276) 628-6165
                                                                        Email: jlamie@blglaw.us

U.S. Trustee
USTrustee
Office of the United States Trustee
210 First Street, Suite 505
Roanoke, VA 24011
(540) 857-2806


   Filing Date                    #                                  Docket Text

                              1                   Chapter 7 Bankruptcy Act case of Yellow Poplar
                              (152 pgs; 3 docs)   Lumber Company, Inc. filed in U.S. District Court
                                                  - South Carolina in 1928, then transferred to U.S.
                                                  District Court - Western District of Virginia, now
                                                  referred to U.S. Bankruptcy Court - Western
                                                  District of Virginia. (Attachments: # 1 Transferring
                                                  Documents from USDC-SC # 2 Transferring
                                                  Documents from USDC-SC) (Nichols, Elizabeth)
 06/28/2017                                       (Entered: 06/30/2017)

                              2                   Judge Paul M. Black added to case (Nichols,
 06/28/2017                                       Elizabeth) (Entered: 06/30/2017)



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                             3                 Order Setting Status Hearing Signed on 7/6/2017.
                             (1 pg)            Hearing scheduled 8/16/2017 at 11:30 AM at
                                               Abingdon, US District Courtroom, US Courthouse,
                                               180 W. Main St., Abingdon, VA 24210. (Jenkins,
 07/06/2017                                    Janet) (Entered: 07/06/2017)

                             4                 BNC Certificate of Mailing - PDF Document. (RE:
                             (2 pgs)           related document(s)3 Order Setting Status Hearing)
                                               No. of Notices: 11. Notice Date 07/08/2017.
 07/08/2017                                    (Admin.) (Entered: 07/09/2017)

                             5                 Status Hearing Held - Hearing Continued; Court
                                               set bond at $1.2 million; (RE: related document(s)3
                                               Order Setting Status Hearing) Order to be
                                               Tendered by Lamie Due by 8/28/2017.Hearing
                                               continued for further status - scheduled 10/25/2017
                                               at 11:30 AM at Abingdon, US District Courtroom,
                                               US Courthouse, 180 W. Main St., Abingdon, VA
                                               24210. No Order required; (Campbell, Pam)
 08/16/2017                                    (Entered: 08/17/2017)

                             6                 Order Requiring Trustee to Post Bond and
                             (4 pgs)           Continuing Status Hearing Signed on 9/5/2017
                                               (RE: related document(s) 5 Hearing Held - Hearing
                                               Continued). Hearing scheduled 10/25/2017 at
                                               11:30 AM at Abingdon, US District Courtroom,
                                               US Courthouse, 180 W. Main St., Abingdon, VA
 09/05/2017                                    24210. (Campbell, Pam) (Entered: 09/05/2017)

                             7                 Certificate of Mailing Filed by John M. Lamie on
                             (1 pg)            behalf of John M. Lamie (RE: related document(s)
                                               6 Order Continuing Hearing). (Lamie, John)
 09/06/2017                                    (Entered: 09/06/2017)

                             8                 Notice of Appearance and Request for Notice Filed
                             (2 pgs)           by Mark L. Esposito on behalf of Range
                                               Resources-Pine Mountain, Inc. (Esposito, Mark)
 09/12/2017                                    (Entered: 09/12/2017)

                             9                 Supplement Bond of Trustee Filed by John M.
                             (2 pgs)           Lamie on behalf of John M. Lamie. (Lamie, John)
 09/19/2017                                    (Entered: 09/19/2017)

                             10                Application to Employ Thomas M Hicok, CPA,
                             (2 pgs)           CVA MAFF as CPA Filed by Trustee John M.
                                               Lamie Hearing scheduled 11/2/2017 at 10:30 AM
                                               at Abingdon, US District Courtroom, US
                                               Courthouse, 180 W. Main St., Abingdon, VA


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 10/05/2017                                    24210. (Lamie, John) (Entered: 10/05/2017)

                             11                Application to Employ Mindy Bonin and Paralegal
                             (3 pgs)           Searches Unlimited as Professional (genealogy
                                               research and paralegal) Filed by Trustee John M.
                                               Lamie Hearing scheduled 11/2/2017 at 10:30 AM
                                               at Abingdon, US District Courtroom, US
                                               Courthouse, 180 W. Main St., Abingdon, VA
 10/05/2017                                    24210. (Lamie, John) (Entered: 10/05/2017)

                             12                Notice of Hearing Filed by John M. Lamie on
                             (3 pgs; 2 docs)   behalf of John M. Lamie (RE: related document(s)
                                               10 Application to Employ, 11 Application to
                                               Employ). Hearing scheduled 11/2/2017 at 10:30
                                               AM at Abingdon, US District Courtroom, US
                                               Courthouse, 180 W. Main St., Abingdon, VA
                                               24210. (Attachments: # 1 Supplement Mailing
 10/05/2017                                    List) (Lamie, John) (Entered: 10/05/2017)

                             13                Status Hearing Held - Hearing Continued for
                                               further status hearing; (RE: related document(s)3
                                               Order Setting Status Hearing) Hearing scheduled
                                               12/20/2017 at 11:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. No Order necessary;
 10/25/2017                                    (Campbell, Pam) (Entered: 10/25/2017)

                             14                Hearing Held - Application Granted. (RE: related
                                               document(s)10 Application to Employ filed by
                                               Trustee John M. Lamie) Order to be Tendered by
                                               Lamie. Due by 11/13/2017. (Rose, Ginger)
 11/02/2017                                    (Entered: 11/03/2017)

                             15                Hearing Held - Application Granted. (RE: related
                                               document(s)11 Application to Employ filed by
                                               Trustee John M. Lamie) Order to be Tendered by
                                               Lamie. Due by 11/13/2017. (Rose, Ginger)
 11/02/2017                                    (Entered: 11/03/2017)

                             16                Order Granting Application to Employ Thomas M
                             (1 pg)            Hicok Accountant ,(Related Doc # 10) Signed on
 11/03/2017                                    11/3/2017. (Rose, Ginger) (Entered: 11/03/2017)

                             17                Order Granting Application to Employ Mindy
                             (1 pg)            Bonin Genealogy Research and Paralegal ,(Related
                                               Doc # 11) Signed on 11/3/2017. (Rose, Ginger)
 11/03/2017                                    (Entered: 11/03/2017)



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                             18                Certificate of Mailing Order(s) of Employment
                             (1 pg)            Filed by John M. Lamie on behalf of John M.
                                               Lamie (RE: related document(s)16 Order on
                                               Application to Employ, 17 Order on Application to
 11/03/2017                                    Employ). (Lamie, John) (Entered: 11/03/2017)

                             19                Motion for Entry of Order Motion of Trustee for
                             (4 pgs)           Leave to Disburse Attorney Fees (Notice of
                                               Hearing) Filed by Trustee John M. Lamie Hearing
                                               scheduled 12/20/2017 at 11:30 AM at Abingdon,
                                               US District Courtroom, US Courthouse, 180 W.
                                               Main St., Abingdon, VA 24210. (Lamie, John)
 11/22/2017                                    (Entered: 11/22/2017)

                             20                Hearing Held - Granted (RE: related document(s)
                                               19 Motion for Entry of Order filed by Trustee John
                                               M. Lamie) Order to be Tendered by Lamie Due by
 12/20/2017                                    1/2/2018. (Campbell, Pam) (Entered: 12/20/2017)

                             21                Hearing Held - Hearing Continued; Counsel
                                               directed to brief assessment of
                                               monies/disbursements; (RE: related document(s)3
                                               Order Setting Status Hearing) Order to be
                                               Tendered by Lamie Due by 1/2/2018.Hearing
                                               scheduled 2/1/2018 at 10:30 AM at Abingdon, US
                                               District Courtroom, US Courthouse, 180 W. Main
                                               St., Abingdon, VA 24210. (Campbell, Pam)
 12/20/2017                                    (Entered: 12/20/2017)

                             22                Order Granting Motion for Entry of Order (Related
                             (1 pg)            Doc # 19) Signed on 12/26/2017. (Campbell, Pam)
 12/26/2017                                    (Entered: 12/26/2017)

                             23                Order Continuing Hearing for Status; Signed on
                             (2 pgs)           12/26/2017 (RE: related document(s)3 Order
                                               Setting Status Hearing). Status Hearing scheduled
                                               2/1/2018 at 10:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. (Campbell, Pam) (Entered:
 12/26/2017                                    12/26/2017)

                             24                Certificate of Mailing Filed by John M. Lamie on
                             (1 pg)            behalf of John M. Lamie (RE: related document(s)
                                               22 Order on Motion for Entry of Order, 23 Order
                                               Continuing Hearing). (Lamie, John) (Entered:
 01/03/2018                                    01/03/2018)

                             25                Memorandum of Law in Support of Payment of


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                             (13 pgs; 2 docs)   Interest to Creditors Filed by Robert Tayloe
                                                Copeland on behalf of Heirs of Daniel Von Bremen
                                                (RE: related document(s)23 Order Continuing
                                                Hearing). Hearing scheduled 2/1/2018 at 10:30 AM
                                                at Abingdon, US District Courtroom, US
                                                Courthouse, 180 W. Main St., Abingdon, VA
                                                24210. (Attachments: # 1 Exhibit 1, 2 3 - Various
                                                Case Law) (Copeland, Robert) (Entered:
 01/25/2018                                     01/25/2018)

                             26                 Memorandum of Authorities on the Notice and
                             (22 pgs; 5 docs)   Interest Issues Filed by John M. Lamie on behalf of
                                                John M. Lamie (RE: related document(s)23 Order
                                                Continuing Hearing). Hearing scheduled 2/1/2018
                                                at 10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA
                                                24210. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 #
                                                3 Exhibit 3 # 4 Exhibit 4) (Lamie, John) (Entered:
 01/26/2018                                     01/26/2018)

                             27                 Status Hearing Held - Status Hearing Continued
                                                (RE: related document(s)3 Order Setting Status
                                                Hearing, 25 Memorandum filed by Creditor Heirs
                                                of Daniel Von Bremen, 26 Memorandum filed by
                                                Trustee John M. Lamie) Hearing scheduled
                                                4/3/2018 at 10:30 AM at Abingdon, US District
                                                Courtroom, US Courthouse, 180 W. Main St.,
                                                Abingdon, VA 24210. No Order required;
 02/01/2018                                     (Campbell, Pam) (Entered: 02/01/2018)

                             28                 Status Hearing Held - Hearing Continued for
                                                further status conference; Lamie to prepare a
                                                written status report/proposal by 5/25/18; (RE:
                                                related document(s)3 Order Setting Status Hearing,
                                                25 Memorandum filed by Creditor Heirs of Daniel
                                                Von Bremen, 26 Memorandum filed by Trustee
                                                John M. Lamie) Hearing scheduled 6/7/2018 at
                                                10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA
                                                24210. No Order required; (Campbell, Pam)
                                                Modified on 5/29/2018 (Campbell, Pam). (Entered:
 04/03/2018                                     04/03/2018)

                             29                 Application for Compensation filed on behalf of
                             (5 pgs; 2 docs)    Mindy Bonin and Paralegal Searches Unlimited for
                                                Mindy Bonin, Other Professional, Fee: $1,957.50,
                                                Expenses: $155.34., Hearing scheduled 7/10/2018
                                                at 10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA


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                                               24210. (Attachments: # 1 Exhibit Invoice and
 05/23/2018                                    Receipt) (Lamie, John) (Entered: 05/23/2018)

                             30                Notice of Hearing Filed by John M. Lamie on
                             (2 pgs)           behalf of Mindy Bonin (RE: related document(s)29
                                               Application for Compensation). Hearing scheduled
                                               7/10/2018 at 10:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. (Lamie, John) (Entered:
 05/23/2018                                    05/23/2018)

                             31                Report Trustee's Status Report Filed by John M.
                             (5 pgs)           Lamie on behalf of John M. Lamie. (Lamie, John)
 05/25/2018                                    (Entered: 05/25/2018)

                             32                Status Hearing Held - Hearing Continued for
                                               further status; Lamie to provide additional trustee
                                               status report by 8/1/18; (RE: related document(s)3
                                               Order Setting Status Hearing, 25 Memorandum
                                               filed by Creditor Heirs of Daniel Von Bremen, 26
                                               Memorandum filed by Trustee John M. Lamie, 31
                                               Report filed by Trustee John M. Lamie) Hearing
                                               scheduled 8/8/2018 at 10:30 AM at Abingdon, US
                                               District Courtroom, US Courthouse, 180 W. Main
                                               St., Abingdon, VA 24210. No Order required;
 06/07/2018                                    (Campbell, Pam) (Entered: 06/07/2018)

                             33                Hearing Held - Granted (RE: related document(s)
                                               29 Application for Compensation filed by Other
                                               Professional Mindy Bonin) Order to be Tendered
                                               by Lamie Due by 7/20/2018. (Campbell, Pam)
 07/10/2018                                    (Entered: 07/10/2018)

                             34                Order on Fee Award for Compensation and
                             (1 pg)            Expenses for Mindy Bonin, Other Professional,
                                               Fees awarded: $1957.50, Expenses awarded:
                                               $155.34; Awarded on 7/10/2018 Signed on
                                               7/10/2018 (RE: related document(s)29 Application
                                               for Compensation filed by Other Professional
                                               Mindy Bonin). (Campbell, Pam) (Entered:
 07/10/2018                                    07/10/2018)

                             35                Certificate of Mailing Filed by John M. Lamie on
                             (1 pg)            behalf of Mindy Bonin (RE: related document(s)34
                                               Fee Award for Compensation and Expenses).
 07/10/2018                                    (Lamie, John) (Entered: 07/10/2018)

                             36                Report Trustee's Status Report as of August 1, 2018


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                             (7 pgs)           Filed by John M. Lamie on behalf of John M.
                                               Lamie (RE: related document(s) 32 Hearing Held -
                                               Hearing Continued). (Lamie, John) (Entered:
 08/01/2018                                    08/01/2018)

                             37                Status Hearing Held - Hearing Continued (RE:
                                               related document(s)3 Order Setting Status Hearing,
                                               25 Memorandum filed by Creditor Heirs of Daniel
                                               Von Bremen, 26 Memorandum filed by Trustee
                                               John M. Lamie, 31 Report filed by Trustee John M.
                                               Lamie, 36 Report filed by Trustee John M. Lamie)
                                               Order to be Tendered by Lamie Due by
                                               8/20/2018.Status Conference Hearing scheduled
                                               10/4/2018 at 10:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. Lamie to prepare proposal
                                               by 9-7 with counter proposal/objections due by 9-
 08/08/2018                                    28; (Campbell, Pam) (Entered: 08/08/2018)

                             38                Order requiring Trustee to file A Proposed Interim
                             (3 pgs)           distribution, setting deadline for Objections and
                                               Order Continuing Pre-Trial Hearing Signed on
                                               8/10/2018 (RE: related document(s) 37 Hearing
                                               Held - Hearing Continued). Hearing scheduled
                                               10/4/2018 at 10:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. Order setting due date by
                                               9/7/2018 (Proposed interim distribution to the
                                               general unsecured creditors)Objections to the
                                               Trustee's proposed interim distributions by
                                               September 28, 2018;. (Campbell, Pam) (Entered:
 08/10/2018                                    08/10/2018)

                             39                Certificate of Mailing Filed by John M. Lamie on
                             (1 pg)            behalf of John M. Lamie (RE: related document(s)
                                               38 Order Continuing Hearing). (Lamie, John)
 08/13/2018                                    (Entered: 08/13/2018)

                             40                Motion for Entry of Order Trustee's Motion
                             (4 pgs)           Seeking Approval of Interim Distribution to
                                               Unsecured Creditors Filed by Trustee John M.
                                               Lamie Hearing scheduled 10/4/2018 at 10:30 AM
                                               at Abingdon, US District Courtroom, US
                                               Courthouse, 180 W. Main St., Abingdon, VA
 09/07/2018                                    24210. (Lamie, John) (Entered: 09/07/2018)

                             41
                             (2 pgs)           Notice of Hearing Filed by John M. Lamie on
                                               behalf of John M. Lamie (RE: related document(s)


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                                                38 Order Continuing Hearing, 40 Motion for Entry
                                                of Order). Hearing scheduled 10/4/2018 at 10:30
                                                AM at Abingdon, US District Courtroom, US
                                                Courthouse, 180 W. Main St., Abingdon, VA
 09/07/2018                                     24210. (Lamie, John) (Entered: 09/07/2018)

                             42                 Entered in Error Order Schedule Hearing (RE:
                             (3 pgs)            related document(s)40 Motion for Entry of Order
                                                filed by Trustee John M. Lamie). Hearing
                                                scheduled 10/4/2018 at 10:30 AM at Abingdon, US
                                                District Courtroom, US Courthouse, 180 W. Main
                                                St., Abingdon, VA 24210. (Rose, Ginger) Modified
                                                on 9/10/2018 (Rose, Ginger). (Entered:
 09/10/2018                                     09/10/2018)

                             43                 Order Schedule Hearing (RE: related document(s)
                             (3 pgs)            40 Motion for Entry of Order filed by Trustee John
                                                M. Lamie). Hearing scheduled 10/4/2018 at 10:30
                                                AM at Abingdon, US District Courtroom, US
                                                Courthouse, 180 W. Main St., Abingdon, VA
 09/10/2018                                     24210. (Rose, Ginger) (Entered: 09/10/2018)

                             44                 Motion for Entry of Order to Approve
                             (2 pgs)            Reimbursement for Costs Advanced (Bond and
                                                Publications) Filed by Trustee John M. Lamie
                                                Hearing scheduled 10/4/2018 at 10:30 AM at
                                                Abingdon, US District Courtroom, US Courthouse,
                                                180 W. Main St., Abingdon, VA 24210. (Lamie,
 09/14/2018                                     John) (Entered: 09/14/2018)

                             45                 Motion for Entry of Order (Amended to add
                             (3 pgs)            hearing location) Filed by Trustee John M. Lamie
                                                Hearing scheduled 10/4/2018 at 10:30 AM at
                                                Abingdon, US District Courtroom, US Courthouse,
                                                180 W. Main St., Abingdon, VA 24210. (Lamie,
 09/17/2018                                     John) (Entered: 09/17/2018)

                             46                 Objection to (related document(s) 40 Motion for
                             (11 pgs; 4 docs)   Entry of Order filed by Trustee John M. Lamie)
                                                Objection of the Von Bremen Family Filed by
                                                Robert Tayloe Copeland on behalf of Heirs of
                                                Daniel Von Bremen Hearing scheduled 10/4/2018
                                                at 10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA
                                                24210. (Attachments: # 1 Exhibit A - GENERAL
                                                ORDER XXI # 2 Exhibit B - CASE DOCKET # 3
                                                Exhibit C - SERVICE LISTS) (Copeland, Robert)
 09/27/2018                                     (Entered: 09/27/2018)



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                             47                Objection to (related document(s) 40 Motion for
                             (7 pgs; 2 docs)   Entry of Order filed by Trustee John M. Lamie)
                                               Heirs of Willie Johnson Filed by Robert Tayloe
                                               Copeland on behalf of Heirs of Willie Johnson
                                               Hearing scheduled 10/4/2018 at 10:30 AM at
                                               Abingdon, US District Courtroom, US Courthouse,
                                               180 W. Main St., Abingdon, VA 24210.
                                               (Attachments: # 1 Exhibit A - SERVICE LIST)
 09/27/2018                                    (Copeland, Robert) (Entered: 09/27/2018)

                             48                Affidavit (Wall Street Journal) Filed by John M.
                             (1 pg)            Lamie on behalf of John M. Lamie (RE: related
                                               document(s)43 Order Schedule Hearing). (Lamie,
 10/04/2018                                    John) (Entered: 10/04/2018)

                             49                Hearing Held - Hearing Continued; No order
                                               required; Trial held. Thomas Hicok, CPA sworn
                                               and testified. Within 21 days, Mr. Hicok to file
                                               with Court affidavit/declaration to support interest
                                               rate. Within 21 days counsel to file with Court
                                               supplements outlining when distributions were
                                               made in original case and the process or procedure
                                               for how to make future distributions. Counsel to
                                               file with Court support for whether claim
                                               assignments were properly made; May be resolved
                                               prior thereto (RE: related document(s)3 Order
                                               Setting Status Hearing, 25 Memorandum filed by
                                               Creditor Heirs of Daniel Von Bremen, 26
                                               Memorandum filed by Trustee John M. Lamie, 31
                                               Report filed by Trustee John M. Lamie, 36 Report
                                               filed by Trustee John M. Lamie, 40 Motion for
                                               Entry of Order filed by Trustee John M. Lamie, 46
                                               Objection filed by Creditor Heirs of Daniel Von
                                               Bremen, 47 Objection filed by Creditor Heirs of
                                               Willie Johnson) Hearing scheduled 11/8/2018 at
                                               10:30 AM at Abingdon, US District Courtroom,
                                               US Courthouse, 180 W. Main St., Abingdon, VA
 10/04/2018                                    24210. (Campbell, Pam) (Entered: 10/04/2018)

                             50                Hearing Held - Motion Granted (RE: related
                                               document(s)45 Motion for Entry of Order filed by
                                               Trustee John M. Lamie) Order to be Tendered by
                                               Lamie Due by 10/15/2018. (Campbell, Pam)
 10/04/2018                                    (Entered: 10/04/2018)

                             51                Affidavit (The Virginia Mountaineer) Filed by
                             (1 pg)            John M. Lamie on behalf of John M. Lamie (RE:
                                               related document(s)43 Order Schedule Hearing).
 10/04/2018                                    (Lamie, John) (Entered: 10/04/2018)


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                             52                 Affidavit (The Dickenson Star) Filed by John M.
                             (1 pg)             Lamie on behalf of John M. Lamie (RE: related
                                                document(s)43 Order Schedule Hearing). (Lamie,
 10/04/2018                                     John) (Entered: 10/04/2018)

                             53                 Affidavit (Pickens County Courier LLC) Filed by
                             (1 pg)             John M. Lamie on behalf of John M. Lamie (RE:
                                                related document(s)43 Order Schedule Hearing).
 10/04/2018                                     (Lamie, John) (Entered: 10/04/2018)

                             54                 Affidavit (Ironton Tribune) Filed by John M.
                             (1 pg)             Lamie on behalf of John M. Lamie (RE: related
                                                document(s)43 Order Schedule Hearing). (Lamie,
 10/04/2018                                     John) (Entered: 10/04/2018)

                             55                 Affidavit (The Independent) Filed by John M.
                             (2 pgs)            Lamie on behalf of John M. Lamie (RE: related
                                                document(s)43 Order Schedule Hearing). (Lamie,
 10/04/2018                                     John) (Entered: 10/04/2018)

                             56                 Affidavit (The Herald - Dispatch) Filed by John M.
                             (3 pgs)            Lamie on behalf of John M. Lamie (RE: related
                                                document(s)43 Order Schedule Hearing). (Lamie,
 10/04/2018                                     John) (Entered: 10/04/2018)

                             57                 Order Approving Motion for Entry of Order to
                             (2 pgs)            Approve Reimbursement for costs advanced;
                                                (Related Doc # 45) (Campbell, Pam) (Entered:
 10/05/2018                                     10/05/2018)

                             58                 Objection to (related document(s) 40 Motion for
                             (23 pgs; 8 docs)   Entry of Order filed by Trustee John M. Lamie)
                                                Filed by Robert Tayloe Copeland on behalf of
                                                Heirs of Daniel Von Bremen (Attachments: # 1
                                                Exhibit A - GENERAL ORDER # 2 Exhibit B -
                                                TRANSCRIPT OF CREDITORS MEETING # 3
                                                Exhibit C - REPORT OF REFEREE # 4 Exhibit D
                                                - ORDER APPROVING REPORT # 5 Exhibit E -
                                                REPORT OF RECEIPTS # 6 Exhibit F - REPORT
                                                OF DISTRIBUTION # 7 Exhibit G - SERVICE
                                                MATRIX) (Copeland, Robert) (Entered:
 10/10/2018                                     10/10/2018)

                             59                 Document/Event Entered in Error Filed by Robert
                                                Tayloe Copeland on behalf of Heirs of Daniel Von
                                                Bremen (RE: related document(s)58 Objection).
 10/11/2018                                     (Copeland, Robert) (Entered: 10/11/2018)



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                             60                 Objection to (related document(s) 40 Motion for
                             (23 pgs; 8 docs)   Entry of Order filed by Trustee John M. Lamie)
                                                Filed by Robert Tayloe Copeland on behalf of
                                                Heirs of Daniel Von Bremen Hearing scheduled
                                                11/8/2018 at 10:30 AM at Abingdon, US District
                                                Courtroom, US Courthouse, 180 W. Main St.,
                                                Abingdon, VA 24210. (Attachments: # 1 Exhibit A
                                                - General Order # 2 Exhibit B - Transcript of
                                                Creditors Meeting # 3 Exhibit C - Report of
                                                Referee # 4 Exhibit D - Order approving referee
                                                report # 5 Exhibit E - Report of Receipts # 6
                                                Exhibit F - Report of Distribution # 7 Exhibit G -
                                                Service Matrix) (Copeland, Robert) (Entered:
 10/11/2018                                     10/11/2018)

                             61                 Report of CPA, Thomas M. Hicok, on the Interest
                             (4 pgs; 3 docs)    Rate Research for 1928 Filed by John M. Lamie on
                                                behalf of John M. Lamie. (Attachments: # 1
                                                Exhibit Graph # 2 Exhibit Table) (Lamie, John)
 10/23/2018                                     (Entered: 10/23/2018)

                             62                 Report Trustee's Status Report as of October 25,
                             (10 pgs; 2 docs)   2018 Filed by John M. Lamie on behalf of John M.
                                                Lamie. (Attachments: # 1 Exhibit Example
                                                Affidavit of Heirship) (Lamie, John) (Entered:
 10/25/2018                                     10/25/2018)

                             63                 Supplement WSJ Proof Filed by John M. Lamie on
                             (1 pg)             behalf of John M. Lamie (RE: related document(s)
 11/02/2018                                     48 Affidavit). (Lamie, John) (Entered: 11/02/2018)

                             64                 Entered in Error (no service recipients listed)
                             (12 pgs)           Memorandum Opinion (RE: related document(s)25
                                                Memorandum filed by Creditor Heirs of Daniel
                                                Von Bremen, 26 Memorandum filed by Trustee
                                                John M. Lamie, 40 Motion for Entry of Order filed
                                                by Trustee John M. Lamie, 46 Objection filed by
                                                Creditor Heirs of Daniel Von Bremen, 47
                                                Objection filed by Creditor Heirs of Willie
                                                Johnson, 49 Hearing Held - Hearing Continued, 60
                                                Objection filed by Creditor Heirs of Daniel Von
                                                Bremen). (Campbell, Pam) Modified on 11/5/2018
 11/02/2018                                     (Campbell, Pam). (Entered: 11/02/2018)

                             65
                             (12 pgs)           Memorandum Opinion (Re-docketed for service)
                                                (RE: related document(s)25 Memorandum filed by
                                                Creditor Heirs of Daniel Von Bremen, 26
                                                Memorandum filed by Trustee John M. Lamie, 40


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                                               Motion for Entry of Order filed by Trustee John M.
                                               Lamie, 46 Objection filed by Creditor Heirs of
                                               Daniel Von Bremen, 47 Objection filed by Creditor
                                               Heirs of Willie Johnson, 49 Hearing Held -
                                               Hearing Continued, 60 Objection filed by Creditor
                                               Heirs of Daniel Von Bremen). (Campbell, Pam)
 11/02/2018                                    (Entered: 11/02/2018)

                             66                Order Granting Trustee's Motion Seeking Approval
                             (2 pgs)           of Interim Distribution to Unsecured Creditors
                                               subject to the following modifications; (Related
                                               Doc 40) (Campbell, Pam). Related document(s) 65
                                               Memorandum Opinion. Modified on 11/2/2018
 11/02/2018                                    (Campbell, Pam). (Entered: 11/02/2018)

                             67                BNC Certificate of Mailing - PDF Document. (RE:
                             (13 pgs)          related document(s)65 Memorandum Opinion) No.
                                               of Notices: 3. Notice Date 11/04/2018. (Admin.)
 11/04/2018                                    (Entered: 11/04/2018)

                             68                BNC Certificate of Mailing - PDF Document. (RE:
                             (3 pgs)           related document(s)66 Order on Motion for Entry
                                               of Order) No. of Notices: 3. Notice Date
 11/04/2018                                    11/04/2018. (Admin.) (Entered: 11/04/2018)

                             69                Status Hearing Held - Hearing Continued for
                                               further status - No Order Required (RE: related
                                               document(s)3 Order Setting Status Hearing)
                                               Hearing scheduled 2/7/2019 at 10:30 AM at
                                               Abingdon, US District Courtroom, US Courthouse,
                                               180 W. Main St., Abingdon, VA 24210.
 11/08/2018                                    (Campbell, Pam) (Entered: 11/08/2018)

                             70                Notice of Appearance and Request for Notice Filed
                             (2 pgs)           by David J Hutton on behalf of Assets
                                               International. (Hutton, David) (Entered:
 11/12/2018                                    11/12/2018)

                             71                Notice of Appeal to District Court . Fee Amount
                             (2 pgs)           $298 Filed by Creditors Heirs of Willie Johnson,
                                               Heirs of Daniel Von Bremen (RE: related
                                               document(s)66 Order on Motion for Entry of
                                               Order). Appellant Designation due by 11/29/2018.
 11/15/2018                                    (Copeland, Robert) (Entered: 11/15/2018)

                             72                Receipt of Notice of Appeal(17-70882)
                                               [appeal,ntcapl] ( 298.00) Filing Fee. Receipt
                                               number 7353837. Fee amount 298.00. (re: Doc#


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 11/15/2018                                      71) (U.S. Treasury) (Entered: 11/15/2018)

                             73                  Notice of Filing Appeal (RE: related document(s)
                             (25 pgs)            71 Notice of Appeal filed by Creditor Heirs of
                                                 Daniel Von Bremen, Creditor Heirs of Willie
 11/16/2018                                      Johnson) (Campbell, Pam) (Entered: 11/16/2018)

                                                 Appeal Transmitted (RE: related document(s)71
                                                 Notice of Appeal filed by Creditor Heirs of Daniel
                                                 Von Bremen, Creditor Heirs of Willie Johnson, 73
                                                 Notice of Filing Appeal) (Campbell, Pam)
 11/16/2018                                      (Entered: 11/16/2018)

                             75                  Civil Case Number and District Judge Assigned
                                                 Case #1:18-cv-00043 (Honorable James P Jones)
                                                 (RE: related document(s)71 Notice of Appeal filed
                                                 by Creditor Heirs of Daniel Von Bremen, Creditor
                                                 Heirs of Willie Johnson) (Campbell, Pam)
 11/16/2018                                      (Entered: 11/19/2018)

                             74                  BNC Certificate of Mailing - PDF Document. (RE:
                             (26 pgs)            related document(s)73 Notice of Filing Appeal)
                                                 No. of Notices: 1. Notice Date 11/18/2018.
 11/18/2018                                      (Admin.) (Entered: 11/19/2018)

                             76                  Appellant Designation of Contents For Inclusion in
                             (3 pgs)             Record On Appeal , Statement of Issues on Appeal,
                                                 Filed by Creditors Heirs of Willie Johnson, Heirs
                                                 of Daniel Von Bremen (RE: related document(s)71
                                                 Notice of Appeal). Appellee designation due by
                                                 12/12/2018. (Copeland, Robert) (Entered:
 11/28/2018                                      11/28/2018)

                             77                  Notice of Docketing Record on Appeal to District
                             (311 pgs; 6 docs)   Court. Case Number: 0423118000431 (RE: related
                                                 document(s)71 Notice of Appeal filed by Creditor
                                                 Heirs of Daniel Von Bremen, Creditor Heirs of
                                                 Willie Johnson)(Attachments: # 1 Balance of
                                                 Docket entry #1 #(2),dkt #25-47 #(3),dkt #58 #
                                                 (4),dkt.# 60-71 #(5), dkt # 73-75) (Campbell, Pam)
 12/14/2018                                      (Entered: 12/14/2018)

                             78                  Report Trustee's Status Report as of January 31,
                             (2 pgs)             2019 Filed by John M. Lamie on behalf of John M.
 02/06/2019                                      Lamie. (Lamie, John) (Entered: 02/06/2019)

                             79                  Hearing Held - Hearing Continued for Status
                                                 conference; - No Order Required (RE: related


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                                               document(s)3 Order Setting Status Hearing)
                                               Hearing scheduled 4/4/2019 at 10:30 AM at
                                               Abingdon, US District Courtroom, US Courthouse,
                                               180 W. Main St., Abingdon, VA 24210.
 02/07/2019                                    (Campbell, Pam) (Entered: 02/07/2019)

                             80                Application for Compensation (Approval of CPA
                             (4 pgs; 3 docs)   Fees) for Thomas M Hicok, Accountant, Fee:
                                               $7510.00, Expenses: $0.00., Hearing scheduled
                                               4/4/2019 at 10:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. (Attachments: # 1 Exhibit
                                               Invoice dated 10 23 18 # 2 Exhibit Invoice dated
 02/25/2019                                    12 17 18) (Lamie, John) (Entered: 02/25/2019)

                             81                Notice of Hearing (Approval for CPA Fees) Filed
                             (2 pgs)           by John M. Lamie on behalf of Thomas M Hicok
                                               (RE: related document(s)80 Application for
                                               Compensation). Hearing scheduled 4/4/2019 at
                                               10:30 AM at Abingdon, US District Courtroom,
                                               US Courthouse, 180 W. Main St., Abingdon, VA
 02/25/2019                                    24210. (Lamie, John) (Entered: 02/25/2019)

                             82                Appeal Decision Entered by District Court (RE:
                             (1 pg)            related document(s)66 Order on Motion for Entry
                                               of Order, 71 Notice of Appeal filed by Creditor
                                               Heirs of Daniel Von Bremen, Creditor Heirs of
                                               Willie Johnson) (Rose, Ginger) (Entered:
 03/18/2019                                    03/18/2019)

                             83                Entered in errorApplication for Compensation
                             (4 pgs)           Under Common Fund Theory for Copeland Law
                                               Firm, P.C., Creditor's Attorney, Fee: $164,164.90,
                                               Expenses: $., Hearing scheduled 5/2/2019 at 10:30
                                               AM at Abingdon, US District Courtroom, US
                                               Courthouse, 180 W. Main St., Abingdon, VA
                                               24210. (Morris, Max) Modified on 4/3/2019
 03/29/2019                                    (Wilson, Jessica). (Entered: 03/29/2019)

                             84                Document/Event Entered in Error Filed by Max
                                               Cody Morris on behalf of Copeland Law Firm,
                                               P.C. (RE: related document(s)83 Application for
                                               Compensation Under Common Fund Theory for
                                               Copeland Law Firm, P.C., Creditor's Attorney, Fee:
                                               $164,164.90, Expenses: $.). (Morris, Max)
 03/29/2019                                    (Entered: 03/29/2019)

                             85
                                               Application for Compensation Under Common


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                             (4 pgs)           Fund Theory for Copeland Law Firm, P.C.,
                                               Creditor's Attorney, Fee: $164,164.90, Expenses:
                                               $., Hearing scheduled 5/2/2019 at 10:30 AM at
                                               Abingdon, US District Courtroom, US Courthouse,
                                               180 W. Main St., Abingdon, VA 24210. (Morris,
 03/29/2019                                    Max) (Entered: 03/29/2019)

                             86                Certificate of Mailing Filed by Max Cody Morris
                             (1 pg)            on behalf of Copeland Law Firm, P.C. (RE: related
                                               document(s)85 Application for Compensation
                                               Under Common Fund Theory for Copeland Law
                                               Firm, P.C., Creditor's Attorney, Fee: $164,164.90,
 03/29/2019                                    Expenses: $.). (Morris, Max) (Entered: 03/29/2019)

                             87                Hearing Held - Approved as stipulated on the
                                               record. (RE: related document(s)80 Application for
                                               Compensation filed by Accountant Thomas M
                                               Hicok) Order to be Tendered by Lamie. Due by
 04/04/2019                                    4/15/2019. (Rose, Ginger) (Entered: 04/04/2019)

                             88                Hearing Held - Status Hearing Continued - No
                                               Order Required (RE: related document(s)3 Order
                                               Setting Status Hearing) Hearing scheduled
                                               5/2/2019 at 10:30 AM at Abingdon, US District
                                               Courtroom, US Courthouse, 180 W. Main St.,
                                               Abingdon, VA 24210. (Rose, Ginger) (Entered:
 04/04/2019                                    04/04/2019)

                             89                Order on Fee Award for Compensation and
                             (2 pgs)           Expenses for Thomas M Hicok, Accountant, Fees
                                               awarded: $7510.00, Expenses awarded: $0.00;
                                               Awarded on 4/5/2019 (RE: related document(s)80
                                               Application for Compensation filed by Accountant
                                               Thomas M Hicok). (Campbell, Pam) (Entered:
 04/05/2019                                    04/05/2019)

                             90                Certificate of Mailing (order approving fees -
                             (1 pg)            Hicok, CPA, CVA MAFF) Filed by John M. Lamie
                                               on behalf of John M. Lamie (RE: related document
                                               (s)89 Fee Award for Compensation and Expenses).
 04/05/2019                                    (Lamie, John) (Entered: 04/05/2019)

                             91
                             (5 pgs)           Supplement to the Motion to Approve Attorney
                                               Fees Pursuant to the Common Fund Theory Filed
                                               by Max Cody Morris on behalf of Copeland Law
                                               Firm, P.C. (RE: related document(s)85 Application
                                               for Compensation Under Common Fund Theory for
                                               Copeland Law Firm, P.C., Creditor's Attorney, Fee:


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                                                $164,164.90, Expenses: $.). (Morris, Max)
 04/23/2019                                     (Entered: 04/23/2019)

                             92                 Response to (related document(s) 85 Application
                             (4 pgs)            for Compensation filed by Movant Copeland Law
                                                Firm, P.C.) Filed by John M. Lamie on behalf of
                                                John M. Lamie Hearing scheduled 5/2/2019 at
                                                10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA
 05/01/2019                                     24210. (Lamie, John) (Entered: 05/01/2019)

                             93                 Response to Filed by Max Cody Morris on behalf
                             (3 pgs)            of Copeland Law Firm, P.C. (RE: related document
                                                (s)92 Response). Hearing scheduled 5/2/2019 at
                                                10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA
 05/01/2019                                     24210. (Morris, Max) (Entered: 05/01/2019)

                             94                 Hearing Held - Copeland to file Supplement to
                                                Application by 5/16/19 - Lamie and Garber to file
                                                Reply, if any, by 5/30/19. (RE: related document(s)
                                                85 Application for Compensation filed by Movant
                                                Copeland Law Firm, P.C., 92 Response filed by
                                                Trustee John M. Lamie, 93 Response filed by
                                                Movant Copeland Law Firm, P.C.) (Wood, Chad)
 05/02/2019                                     (Entered: 05/02/2019)

                             95                 Matter Under Advisement (RE: related document
                                                (s)85 Application for Compensation filed by
                                                Movant Copeland Law Firm, P.C., 92 Response
                                                filed by Trustee John M. Lamie, 93 Response filed
                                                by Movant Copeland Law Firm, P.C.) Matter
                                                Under Advisement Due by 7/2/2019. (Wood,
 05/02/2019                                     Chad) (Entered: 05/02/2019)

                             96                 Hearing Held - Hearing Continued - No Order
                                                Required (RE: related document(s)3 Order Setting
                                                Status Hearing) Hearing scheduled 8/8/2019 at
                                                10:30 AM at Abingdon, US District Courtroom,
                                                US Courthouse, 180 W. Main St., Abingdon, VA
 05/02/2019                                     24210. (Wood, Chad) (Entered: 05/02/2019)

                             97
                             (11 pgs; 3 docs)   Memorandum in support of motion for attorney's
                                                fees pursuant to the Common Fund Theory Filed
                                                by Robert Tayloe Copeland on behalf of Copeland
                                                Law Firm, P.C. (RE: related document(s)85
                                                Application for Compensation Under Common
                                                Fund Theory for Copeland Law Firm, P.C.,


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                                                Creditor's Attorney, Fee: $164,164.90, Expenses:
                                                $.). (Attachments: # 1 Exhibit 1 - Copeland Time
                                                Detail # 2 Exhibit 2 - Morris Time Detail)
 05/14/2019                                     (Copeland, Robert) (Entered: 05/14/2019)

                             98                 Reply to (related document(s) 97 Memorandum
                             (5 pgs)            filed by Movant Copeland Law Firm, P.C.) Filed
                                                by John M. Lamie on behalf of John M. Lamie
                                                Matter under Advisement; Matter already
                                                Heard; No Hearing Scheduled needed: Hearing
                                                scheduled 5/2/2019 at 10:30 AM at Abingdon, US
                                                District Courtroom, US Courthouse, 180 W. Main
                                                St., Abingdon, VA 24210. (Lamie, John) Modified
 05/30/2019                                     on 5/31/2019 (Wood, Chad). (Entered: 05/30/2019)

                             99                 Response to Trustee's Reply Filed by Max Cody
                             (6 pgs)            Morris on behalf of Copeland Law Firm, P.C. (RE:
                                                related document(s)98 Reply). Hearing scheduled
                                                5/2/2019 at 10:30 AM at Abingdon, US District
                                                Courtroom, US Courthouse, 180 W. Main St.,
                                                Abingdon, VA 24210. (Morris, Max) (Entered:
 06/03/2019                                     06/03/2019)

                             100        Memorandum Opinion - the Court finds that neither the
                             (14 pgs)   Bankruptcy Act nor the Bankruptcy Code provide the Court
                                        with the authority to grant Counsels requested fee
                                        enhancement in this case, and Counsels Motion will be
                                        denied. (RE: related document(s)85 Application for
                                        Compensation filed by Movant Copeland Law Firm, P.C.,
                                        92 Response filed by Trustee John M. Lamie, 93 Response
                                        filed by Movant Copeland Law Firm, P.C., 95 Matter Under
                                        Advisement, 97 Memorandum filed by Movant Copeland
                                        Law Firm, P.C., 98 Reply filed by Trustee John M. Lamie,
                                        99 Response filed by Movant Copeland Law Firm, P.C.).
 07/15/2019                             (Wood, Chad) (Entered: 07/15/2019)

                             101        Ordered that the Motion to Approve Attorney Fees Pursuant
                             (1 pg)     to the Common Fund Theory is hereby Denied. (Related
 07/15/2019                             Doc # 85) (Wood, Chad) (Entered: 07/15/2019)

                             102        BNC Certificate of Mailing - PDF Document. (RE: related
                             (13 pgs)   document(s)65 Memorandum Opinion) No. of Notices: 7.
 07/17/2019                             Notice Date 07/17/2019. (Admin.) (Entered: 07/18/2019)

                             103        BNC Certificate of Mailing - PDF Document. (RE: related
                             (2 pgs)    document(s)101 Order on Application for Compensation)
                                        No. of Notices: 7. Notice Date 07/17/2019. (Admin.)
 07/17/2019                             (Entered: 07/18/2019)



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                             104       Notice of Appeal to Distirct court Court . Fee Amount $298
                             (2 pgs)   Filed by Interested Party Robert Copeland, Movant
                                       Copeland Law Firm, P.C. (RE: related document(s)100
                                       Memorandum Opinion, 101 Order on Application for
                                       Compensation). Appellant Designation due by 08/9/2019.
 07/26/2019                            (Copeland, Robert) (Entered: 07/26/2019)

                             105       Receipt of Notice of Appeal(17-70882) [appeal,ntcapl]
                                       ( 298.00) Filing Fee. Receipt number 7767976. Fee amount
                                       298.00. (re: Doc# 104) (U.S. Treasury) (Entered:
 07/26/2019                            07/26/2019)

                                       Appeal Transmitted (RE: related document(s)104 Notice of
                                       Appeal filed by Interested Party Robert Copeland, Movant
                                       Copeland Law Firm, P.C.) (Morris, Laurrie) (Entered:
 07/29/2019                            07/29/2019)

                             106       Entered in Error Notice of Filing Appeal (RE: related
                             (1 pg)    document(s)104 Notice of Appeal filed by Interested Party
                                       Robert Copeland, Movant Copeland Law Firm, P.C.)
                                       (Morris, Laurrie) Modified on 7/30/2019 (Morris, Laurrie).
                                       Modified on 7/30/2019 (Morris, Laurrie). (Entered:
 07/29/2019                            07/30/2019)

                             107       Notice of Filing Appeal (RE: related document(s)104 Notice
                             (1 pg)    of Appeal filed by Interested Party Robert Copeland,
                                       Movant Copeland Law Firm, P.C.) (Morris, Laurrie)
 07/29/2019                            (Entered: 07/30/2019)

                             108       Civil Case Number 1:19-cv-00029-JPJ and District Judge
                                       James P. Jones Assigned (RE: related document(s)104
                                       Notice of Appeal filed by Interested Party Robert Copeland,
                                       Movant Copeland Law Firm, P.C.) (Wood, Chad) (Entered:
 07/31/2019                            07/31/2019)

                             109       BNC Certificate of Mailing - PDF Document. (RE: related
                             (2 pgs)   document(s)107 Notice of Filing Appeal) No. of Notices: 0.
 08/01/2019                            Notice Date 08/01/2019. (Admin.) (Entered: 08/02/2019)

                             110       Appellant Designation of Contents For Inclusion in Record
                             (3 pgs)   On Appeal Filed by Interested Party Robert Copeland,
                                       Movant Copeland Law Firm, P.C. (RE: related document(s)
                                       104 Notice of Appeal). Appellee designation due by
 08/06/2019                            08/20/2019. (Copeland, Robert) (Entered: 08/06/2019)

                             111       Hearing Held - Hearing Continued - No Order Required
                                       (RE: related document(s)3 Order Setting Status Hearing)
                                       Lamie to propose interim distribution with notice. Hearing


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https://ecf.vawb.circ4.dcn/cgi-bin/DktRpt.pl?986433150824084-L_1_0-1                       8/21/2019
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                                       scheduled 10/3/2019 at 10:30 AM at Abingdon, US District
                                       Courtroom, US Courthouse, 180 W. Main St., Abingdon,
 08/08/2019                            VA 24210. (Morris, Laurrie) (Entered: 08/08/2019)




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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

 IN RE:

       YELLOW POPLAR LUMBER
       COMPANY, INC.                                   Case No. 17-70882
             Debtor
 ______________________________________________________________________________

 ROBERT T. COPELAND
 COPELAND LAW FIRM, P.C.
     Movant

 v.

 JOHN M. LAMIE, TRUSTEE
      Respondent


      MOTION TO APPROVE ATTORNEY FEES PURSUANT TO THE COMMON
                           FUND THEORY


          Now comes Robert T. Copeland and the firm of Copeland Law Firm, P.C. (“Firm”)

 and moves the court for an Order to approve attorney fees under the common fund theory

 as set forth in Boeing Co. v. Van Gemert, 444 U.S. 472, (1980) and as grounds therefore

 states as follows:

 1.       This is a reopened chapter 7 proceeding under the bankruptcy act of 1898, which

 was initially filed on July 17, 1928 in the District of South Carolina. The proceeding was

 transferred to the Western District of Virginia, which then transferred the matter to the

 docket of this Court.


 2.       As a result of the transfer of this case, this Court has jurisdiction to hear and

 determine matters relating to the administration of this case.



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 3.       When this case began, the Chapter 7 trustee was not inclined to pay interest on the

 claims of creditors from the time of the filing of the case until the time of distribution.

 After a determination by this court that interest should be paid, the trustee filed a

 proposed distribution to be paid to unsecured creditors in this case [Docket # 40]. In that

 proposed distribution the trustee recommended the payment of 2.4% interest from the

 date of the payment of the second dividend and proposed a distribution of $418,964.56.

 4.       The original creditor fund set forth by the Bankruptcy Trustee was $418,964.56

 calculated at a 2.4% interest rate.

 5.       The Firm, on behalf of its clients, objected to the 2.4% interest rate, and this Court

 increased the fund by applying interest at a 3.6%.

 6.       The Firm then successfully increased the fund by an appeal in the United States

 District Court for the Western District of Virginia which found that a 7.0% interest rate

 should be applied.

 7.       As a result of the objections filed by counsel, the bankruptcy court and the district

 court found that the distribution to unsecured creditors should be from July 17, 1928,

 with interest at 7.0%, so as of March 1, 2019 the fund should be, by Counsel’s calculation,

 $1,158,938.57.

 8.       The Supreme Court has long recognized that “a lawyer who recovers a common

 fund for the benefit of persons other than himself or his client is entitled to a reasonable

 attorney’s fee from the fund as a whole.” Boeing, at 478. An attorney is entitled to a

 reasonable attorney’s fee from under the common fund theory when the unrepresented

 parties who benefited from the lawsuit are easy to identify, the benefits can be accurately

 traced, and there is reasonable confidence that the costs could be accurately shifted to

 those beneficiaries Id. at 478-479.

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 9.       The elements set forth by the Court in Boeing have been met in this case. The

 unrepresented parties are easily identifiable. By counsel’s calculation, the firm’s clients

 (Johnson and Von Bremen) will receive $83,314.42 of this fund, leaving benefits capable

 of being accurately traced in the amount of $656,659.59 for all unrepresented creditors.

 10.      Courts have used two methods for calculating common fund attorney’s fees: the

 “lodestar” method and the “percentage of fund” method. See Kay Co v Equitable Prod.

 Co., 749 F. Supp. 2d 455, 462 (S.D. W Va., 2010). The lodestar method multiples the

 number of hours expended by counsel by a reasonable hourly rate, while the percentage

 of the fund method awards a fee as a percentage of the common fund Id. The courts are

 increasingly trending towards the application of the percentage of the fund method. Id.

 11.      Awards in common fund cases average between 20%-35% of the common fund

 awarded for attorney’s fees. See Strang v JHM Mort. Sec. Ltd Partnership, 890 F. Supp.

 499, 503 (E.D. Va., 1995) (awarding 25%); Kay Co, 749 F. Supp. 2d at 463 (awarding

 20%); Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their

 Fee Awards, 7 J. Empirical L. Stud. 811, 833-34 (2010) (study of federal class action fee

 awards finding nearly two-thirds awarding between 25% and 35%).

 12.      Bankruptcy Courts have found that the fees requested under common fund

 theory in class action lawsuits have similar attributes to those found in bankruptcy fee

 matters. In re Paolino, 71 B.R. 576, 584 (E.D. Pa. 1987).

 13.      The actions of counsel created an additional fund of $739,974.01 for the unsecured

 creditors. However, the decisions approving the payment of fees for unrepresented

 parties have deducted from the fund the amount the represented parties would receive.

 By counsel’s calculation, the firm’s clients (Johnson and Von Bremen) will receive

 $83,314.42 of this fund, leaving an increase in the amount of $656,659.59 for all

                                               3

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 unrepresented creditors. Under the decisions cited in this motion, a reasonable fee for the

 representation of the unrepresented creditors would be 25% of the recovery being

 $164,164.90.

        WHEREFORE, based on the foregoing, Movant would pray the Court allow a

 payment of 25% of the common fund and award One Hundred Sixty-Four Thousand

 One Hundred Sixty-Four Dollars and 90/100’s ($164,164.90) in attorney fees for

 Counsel’s efforts to increase the distribution to unsecured creditors.


                                    NOTICE OF HEARING

        PLEASE TAKE NOTICE that on the 2nd day of May 2019 at 10:30 A.M. at the

 United States Bankruptcy Court, United States Courthouse, 180 W. Main Street,

 Abingdon, Virginia the undersigned will move the for entry of an Order Granting

 Attorney’s Fees under the Common Fund Theory in accordance with the foregoing

 motion.




                                                         COPELAND LAW FIRM, P.C.
                                                               By Counsel




 /s/Robert T. Copeland_______
 Robert T. Copeland, VSB #14575
 Copeland Law Firm, P.C.
 212 W. Valley Street
 P.O. Box 1296
 Abingdon, VA 24212




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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

 IN RE:

       YELLOW POPLAR LUMBER
       COMPANY, INC.                                   Case No. 17-70882
             Debtor
 ______________________________________________________________________________

 ROBERT T. COPELAND
 COPELAND LAW FIRM, P.C.
     Movant

 v.

 JOHN M. LAMIE, TRUSTEE
      Respondent


         SUPPLEMENT TO THE MOTION TO APPROVE ATTORNEY FEES
               PURSUANT TO THE COMMON FUND THEORY
          Now comes Robert T. Copeland and the firm of Copeland Law Firm, P.C. (“Firm”)

 and supplements the Motion to Approve Attorney Fees Pursuant to the Common Fund

 Theory and states as follows:

          1.    After filing its Motion, Movant’s ongoing research revealed further

 historical background and application of the common fund theory in bankruptcy courts.

          2.     The concept of the common fund theory is a well-established principle

 first recognized in American law in the 19th century and dating back to English common

 law. See Trustees v. Greenough, 105 U.S. 527, (1881); Central Railroad & Banking Co.

 113 U.S. 116, (1885).

          3.    The Court in Trustees summarizes the common fund theory’s English

 roots as follows:

          In England, where specialty creditors have a preference, a simple-contract
          creditor who recovers a fund for the general benefit is allowed his costs, as
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       between party and party, out of the fund in preference to all other claims;
       and the balance of his costs, as between solicitor and client, are to be paid
       either out of the fund or pro rata by all the creditors who partake of the
       benefit of the suit. This was the judgment in Stanton v. Hatfield, 1 Keen,
       358; followed in Thompson v. Cooper, 2 Col. C.C. 87. In the latter case
       Vice-Chancellor Knight Bruce said: "Having come in and proved, and
       obtained the benefit of the suit which was instituted on their behalf, as
       well as that of the plaintiff, it cannot be just that in such a suit -- a suit
       instituted for the benefit of all the creditors -- one alone should bear the
       burden, when others have the benefit."

 Trustees at 533-534.
       4.     Trustees also states that “the rule that a party who recovers a fund for the

 common benefit of creditors is entitled to have his costs and expenses paid out of the

 fund, prevails in bankruptcy cases.” Id. at 534 (emphasis added).

       5.     An early bankruptcy case, Ex parte Plitt, 19 F. Cas. 875, 884 (Circuit Ct.

 E.D. Penn. 1853) applied common fund theory when that court stated “where the service

 has been rendered so ably, and with such important results to all…they should unite in

 tendering to him a just honorary recompense.”

       6.     Therefore, when this case arose on July 17, 1928, the common fund theory

 existed and was being applied to compensate attorneys whose efforts created a fund to

 the benefit of unrepresented persons.

       7.     The decisions in Trustees and Central Railroad were the precursor for

 Boeing Co. v. Van Gemert, 444 U.S. 472, (1980), that further outlines common fund

 theory and is the basis for our Motion to Approve Attorney Fees Pursuant to the

 Common Fund Theory.

       8.     Boeing has been cited in numerous published bankruptcy cases. Several of

 those cases merely contain a discussion of the common fund theory without ruling on its

 applicability to the case, or deny fees based on the common fund theory, but are



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 distinguishable from the unique facts of this case. See In re DN Assocs., 165 B.R. 344,

 (Bankr. Me. 1994) (Discussed amongst exceptions to the “American Rule” governing fee

 allocations); Bogdan Law Firm v. Bevan & Assocs., LPA (In re Johns-Manville Corp.),

 2016 Bankr. LEXIS 3145, (Bankr. S.D. Ny. 2016) (Included in discussion of a plea for

 fees under quantum meriut); In re Waterscape Resort LLC, 2013 Bankr. LEXIS 2106

 (Bankr. S.D. Ny. 2016) (Court acknowledged that a creditor’s efforts creating a trust

 fund reserve account satisfied the common fund doctrine, but the Chapter 11 plan

 foreclosed recovery); In re Indep. Pier Co., 209 B.R. 333 (E.D. Pa. 1997) (Benefits from

 moving counsel’s work could not be accurately traced); In re Lloyd Sec., 163 B.R. 242

 (Bankr. E.D. Pa. 1994) (Court acknowledged that common fund doctrine could apply,

 but the benefits were not capable of being accurately traced); In re Sound Radio, Inc.,

 145 B.R. 193 (Bankr. N.J. 1992) (Citing Boeing to quote the “American Rule” regarding

 fee allocations); In re Merry-Go-Round Enters., 244 B.R. 327 (Bankr. Md. 2000)

 (Distinguished from other common fund cases because all beneficiaries had agreed to

 bear part of the litigation from the outset); In re Cmty. Home Fin. Servs., 2017 Bankr.

 LEXIS 1191, (Bankr. S.D. Miss. 2017) (Court found no unjust enrichment where illegally

 transferred money was returned to rightful owners in estate); Harmon v. Lighthouse

 Capital Funding, Inc. (In re Harmon), 2011 Bankr. LEXIS 1443 (Bankr. S.D. Tex. 2011)

 (Court denied Plaintiff’s attempt to invoke the common fund theory to recover further

 fees from the Defendant and not from the fund itself); Sommers v. Vaught (In re

 Wilson), 2007 Bankr. LEXIS 1165, (Bankr. S.D. Tex. 2007) (Cites Boeing in discussion

 of res judicata issues and attorney fees); In re Patton, 358 B.R. 911, (Bankr. S.D. Tex.

 2007) (Court declined to allow pre-petition claim based on common fund theory to

 establish priority over other creditors); Lemeh v. Scott (In re Tom Nebel, P.C.), 409 B.R.

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 873, (Bankr. M.D. Tenn. 2009) (Briefly discusses common fund theory in its analysis);

 In re Hunt’s Health Care, 161 B.R. 971, (Bankr. N.D. Ind. 1993) (Recognizing the

 similarities between Boeing and certain bankruptcy fee matters); In re Chewning &

 Frey Sec., 328 B.R. 899 (Bankr. N.D. Ga. 2005) (Case involving the reasonableness of

 contingency fees for special counsel who was employed on estate’s behalf; common fund

 theory was discussed in court’s analysis).

       9.     Many bankruptcy courts have awarded fees where the efforts and expenses

 of counsel have unjustly enriched other, unrepresented involved parties. See Committee

 of Creditors Holding Unsecured Claims v. Sable, Makoroff & Gusky, P.C. (In re Second

 Pa. Real Estate Corp.), 192 B.R. 663, (Bankr. W.D. Pa. 1995); In re Churchfield

 Management & Inv. Corp. 98 B.R. 838, (Bankr. N.D. Ill. 1989). In re Willis, 143 Bankr.

 428, (Bankr. E.D. Tex. 1992). See also In re Milton Poulos, Inc. 947 F.2d 1351 (9th Cir.

 1991); Rodifard v Brewer & Prichard, 2019 Bankr. LEXIS 560 (S.D. Tex 2019) (Using

 common fund doctrine as one of the factors in determining a disputed fee calculation);

 In re Farrah, 141 B.R. 920, (Bankr. W.D. Tex 1992) (Using Common fund doctrine as a

 factor in a fee enhancement of two times lodestar calculation); Gordon v. IRS (In re

 Johnson), 593 B.R. 895 (Bankr. N.D. Ga. 2018) (Awarding fees and expense under

 common fund theory, but percentage and amount not determined).

       WHEREFORE, recognizing that the instant case is more analogous to those cases

 where bankruptcy courts have granted fees based upon the common fund theory, we

 would pray the Court grant our Motion to Approve Attorney Fees Pursuant to the

 Common Fund Theory and award $164,164.90 in attorney fees based upon the

 calculation supported in said motion.



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                                                          COPELAND LAW FIRM, P.C.
                                                                By Counsel




 /s/Robert T. Copeland_______
 Robert T. Copeland, VSB #14575
 Copeland Law Firm, P.C.
 212 W. Valley Street
 P.O. Box 1296
 Abingdon, VA 24212
 (276) 628-9525
 rtc@rcopelandlaw.com


                               CERTIFICATE OF SERVICE


        The undersigned hereby certifies that the foregoing was this date filed via ECF

 with the United States Bankruptcy Court and virtue thereof copies should be

 electronically transmitted to those having requested electronic noticing, including the

 Trustee, and further that true copies were mailed by first class mail, postage prepaid, to

 all creditors and other parties in interest as shown on the mailing matrix for this case.

        Date: April 23, 2019               /s/Robert T. Copeland




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ABINGDON DIVISION

 IN RE:          YELLOW POPLAR LUMBER COMPANY, INC. CASE NO. 17-70882

 ROBERT T. COPELAND
 COPELAND LAW FIRM,

          Movant,

 v.

 JOHN M. LAMIE, TRUSTEE,

          Respondent.

         TRUSTEE’S RESPONSE TO MOTION OF ROBERT T. COPELAND FOR FEES
                    PURSUANT TO THE COMMON FUND THEORY

          Comes now the Trustee, by counsel, and for his response to the Motion to Approve

 Attorney Fees Pursuant to the Common Fund Theory filed by Robert T. Copeland, states as

 follows:

          1. The Common Fund Theory is used by the courts to award a reasonable attorneys’ fee

             for counsel whose services have created a common fund or settlement for a class

             under Rule 23. Sutton v. Bernard 504 F. 3d 688 (7th Cir. 2007). This was not a class

             action matter under Rule 23.

          2. In a common fund case, the court may “award counsel the market price for legal

             services, in light of the risk of nonpayment and the normal rate of compensation in

             the market at the time.” Id. (quoting In re Synthroid Mktg. Litig. 264 F 3d. 712, 718

             (7th Cir. 2001)).

          3. The goal is to give an attorney a fee that he would negotiate in an arms-length

             negotiation in the market place given the risk of recovering nothing at all. Id at 692.




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         While it is arguable that counsel’s efforts recovered a common fund for the creditors,

         he did not do so at the risk of receiving no compensation at all. In fact, he represented

         two creditors on the appeal and had fee arrangements for each.

      4. Counsel did not establish a class in the matter and had the opportunity to have other

         creditors retain him before the undertook the appeal.

      5. There is also an inherent conflict in representing competing creditors for a recovery

         from the same source. The common fund theory should not be an opportunity for an

         attorney representing individual creditors to double dip and get additional fees from

         parties who could have retained him if they chose to do so.

      6. Counsel cites Trustees v. Greenway 105 U.S. 527, 26 L. Ed. 1157 (1881) as authority

         to support his claims for fees. That decision, however, disallowed allowance for fees

         and “private” expenses to a “creditor seeking his rights in a judicial proceeding”

         because “it would present too great a temptation to parties to intermeddle in the

         management” of funds “in which they have only the interest of creditors.” Id at 538.

         Arguably, the Supreme Court was aware of the conflict.

      7. Trustees v. Greenway also was in fact a class action because “the bill was filed not

         only in behalf of the complainant himself, but in behalf of the other bond holders

         having an equal interest in the fund” to recover the funds from the trustee who were

         mishandling it. Id at 532.

      8. The complaint in Central Railroad Bankruptcy Co. of Georgia v. Pettis, 113 U.S.

         116, S.S. Ct. 387, 28 L. Ed. 915 (1885) also was “brought, not exclusively for the

         benefit of the complainants therein, but equally for those of the same class” who

         should contribute to the expenses. Id at 127.




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        9. Boeing Co. v. Van Gement 444 U.S. 472 (1980) was a class action in which the court

            allowed fees payable by all members of the class.

        10. On the matter before the Court, the efforts of counsel did result in an increase in the

            interest payable on each unsecured claim but there was no fund created from lengthy

            litigation that held the risk of no recovery at all. This was an appeal to the U.S.

            District Court that involved the writing of a brief and oral argument before the court.

        11. An appeal of the interest rate to be paid to creditors is far removed from the class

            action contingency fee litigation that produces funds for a group of similarly situated

            parties. Legal fees in such matters are not generally awarded on a contingency basis

            for these services. The Bankruptcy Act of 1898, and amended versions thereafter,

            have never allowed such a procedure. As a matter of policy, this court should not

            allow the application because it would establish a precedent that could prove

            unworkable and costly in the future administration of cases.

        WHEREFORE, the Trustee asks the Court to disallow the application and grant such

 other relief as law and equity requires.

                                        JOHN M. LAMIE, TRUSTEE FOR THE ESTATE OF
                                        YELLOW POPLAR LUMBER COMPANY, INC.


 John M. Lamie
 VSB No. 20109
 BROWNING, LAMIE & GIFFORD, P.C.
 P.O. Box 519
 Abingdon, Virginia 24212
 Telephone: 276/628-6165
 Facsimile: 276/628-4847
 jlamie@blglaw.us

 By    /s/ John M. Lamie




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                                CERTIFICATE OF SERVICE

               I hereby certify that on May 1, 2019, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system, which will send

 notification of such filing to counsel of record.

                                                     /s/ John M. Lamie
                                                     John M. Lamie




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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               ROANOKE DIVISION

 IN RE:

       YELLOW POPLAR LUMBER
       COMPANY, INC.                                   Case No. 17-70882
             Debtor
 ______________________________________________________________________________

 ROBERT T. COPELAND
 COPELAND LAW FIRM, P.C.
     Movant

 v.

 JOHN M. LAMIE, TRUSTEE
      Respondent


  MOVANT’S REPLY TO TRUSTEE’S RESPONSE TO MOTION TO APPROVE
    ATTORNEY FEES PURSUANT TO THE COMMON FUND THEORY
          Now comes Robert T. Copeland and the Copeland Law Firm, P.C. (“Firm”) and

 for reply to the Trustee’s response to the Motion to Approve Attorney Fees Pursuant to

 the Common Fund Theory and states as follows:

 1.       Trustee states that this is not a class action matter, with the implication that it

 cannot be applied in bankruptcy courts. However, Trustee fails to address the

 numerous applications of Common Fund Theory cited in Movant’s Supplement to the

 Motion to Approve Attorney Fees Pursuant to the Common Fund Theory that was filed

 with the court on April 23, 2019.

 2.       Trustee argues that this case did not involve a risk that there would be zero

 compensation. This is not one of the elements necessary to award fees under Common

 Fund Theory as set forth in Boeing Co. v. Van Gemert, 444 U.S. 472, (1980). Nonetheless,




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 this case did in fact begin with a possibility that the creditors would receive nothing, as

 the original issue was whether any interest should be paid. The Trustee was not inclined

 to pay interest on the claims of creditors from the time of the filing of the case until the

 time of distribution. After a determination by this court that interest should be paid, the

 trustee filed a proposed distribution to be paid to unsecured creditors in this case [Docket

 # 40]. The original creditor fund set forth by the Bankruptcy Trustee was $418,964.56

 calculated at a 2.4% interest rate. Movant, on behalf of its clients, objected to the 2.4%

 interest rate, and this Court increased the fund by applying interest at a 3.6%. Movant

 then successfully increased the fund by an appeal in the United States District Court for

 the Western District of Virginia which found that a 7.0% interest rate should be applied

 resulting in a final amount of $1,158,938.57.

 3.       There is no inherent conflict in this case. Movant only seeks a percentage of the

 common fund from the unrepresented creditors, all of whom saw and increase in the

 interest to be paid from zero to seven percent due to Movant’s efforts.

 4.       Trustee failed to comply with Local Rule 9013-1 which would have required

 Trustee’s Response to Motion of Robert T. Copeland for Fees Pursuant to the Common

 Fund Theory to be filed seven days prior to the hearing date. Trustee filed his response

 on May 1, 2019, less than 24 hours prior to the May 2, 2019 hearing.

          WHEREFORE, we would pray the Court grant our Motion to Approve Attorney

 Fees Pursuant to the Common Fund Theory and award $164,164.90 in attorney fees based

 upon the calculation supported in said motion.




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                                                        COPELAND LAW FIRM, P.C.
                                                              By Counsel




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                              CERTIFICATE OF SERVICE


       The undersigned hereby certifies that the foregoing was this date filed via ECF with

 the United States Bankruptcy Court and virtue thereof copies should be electronically

 transmitted to those having requested electronic noticing, including the Trustee.

       Date: April 23, 2019               /s/Robert T. Copeland




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 SIGNED THIS 15th day of July, 2019

     THIS MEMORANDUM OPINION HAS BEEN ENTERED
     ON THE DOCKET. PLEASE SEE DOCKET FOR ENTRY
     DATE.




                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

 In re:                                               )
                                                      )       CHAPTER VII
 YELLOW POPLAR LUMBER                                 )
 COMPANY, INC.                                        )
                                                      )       CASE NO. 17-70882
                                                      )
            Debtor.                                   )

                                        MEMORANDUM OPINION

            This is a case proceeding under Chapter VII of the Bankruptcy Act of 1898, as amended.

 11 U.S.C. § 1 et seq. This matter comes before the Court on the Motion to Approve Attorney

 Fees Pursuant to the Common Fund Theory (“Motion”) (ECF No. 85) filed by counsel for the

 heirs of two creditors in this case, Daniel von Bremen and Willie Johnson, (“Counsel”) and a

 response filed thereto by the Chapter 7 Trustee (the “Trustee”) (ECF No. 92). Counsel seeks

 payment by unrepresented unsecured creditors in this case of a fee enhancement of $164,164.90

 pursuant to the common fund theory. (ECF No. 85.)1 The Court held a hearing on this matter on

 May 2, 2019 and has reviewed supplemental memoranda from Counsel and the Trustee.




 1
     In his Supplemental Memorandum, Counsel requested a fee enhancement of only $125,000. (ECF No. 97, at 3.)



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                                          FACTUAL BACKGROUND

            On July 17, 1928, White Oak Lumber Company filed an involuntary Chapter 7 petition in

 the United States District Court for the Western District of South Carolina to have Yellow Poplar

 Lumber Company, Inc. (“Yellow Poplar”) adjudged a bankrupt. The court adjudged Yellow

 Poplar a bankrupt and closed the case in 1931. In 2013, the United States District Court for the

 District of South Carolina reopened and transferred the case to the District Court for the Western

 District of Virginia after a dispute involving Yellow Poplar arose as to the ownership rights of

 gas estates on parcels of land located in Virginia. The parties ultimately agreed to a settlement of

 the ownership rights, pursuant to which Yellow Poplar stood to receive approximately $2 million

 in gas royalties. In light of Yellow Poplar’s prior bankruptcy, the district court referred the

 matter to this Court for administration.

            Since the case’s resurrection, the Trustee has, with the aid of a genealogist, identified

 many of the original claimants and their existing heirs or successors in interest. Accordingly, the

 Court ordered the Trustee, and any other party who wished, to submit a memorandum addressing

 whether interest is payable to the creditors in any distribution made in this case and, if interest is

 appropriate, what rate should be used. Pursuant to that Order, the Trustee filed a proposed

 distribution to unsecured creditors with interest at a rate of 2.4%. On behalf of the von Bremen

 and Johnson heirs, Counsel objected to the rate of 2.4%, advocating instead for a higher rate of

 7% based on the legal rate in South Carolina when the case was initiated. This Court awarded

 3.6% interest. On appeal to the district court, however, Counsel successfully argued that

 unsecured creditors should receive interest at 7%, resulting in a significantly larger pool of assets

 to be distributed to general unsecured creditors.2



 2
     Per Counsel’s calculations, the pool increased from $418,964.56 to $1,158,938.57, an increase of nearly $740,000.

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         Upon resolution of the appeal to the district court, Counsel filed his Motion seeking a fee

 enhancement in the amount of $164,164.90 pursuant to the common fund doctrine. (ECF No.

 85.) The Trustee has objected, suggesting that the common fund theory does not apply outside

 of class-action litigation or, specifically, under the Bankruptcy Act. (ECF No. 92.) Regardless,

 the Trustee argues that the circumstances of this case do not warrant such a substantial increase

 in fees or contribution from creditors benefitting from Counsel’s work. (ECF No. 98.) In their

 pleadings, the parties largely focus on the issue of whether the common fund doctrine applies in

 bankruptcy cases and to what extent counsel should recover, if at all. However, the

 determinative question in this case is not whether the common fund theory applies, but whether

 the Court has authority to grant Counsel a fee enhancement from assets of the bankruptcy estate.

 Because no provision of either the Bankruptcy Act or its successor the Bankruptcy Code

 provides a method to award fees in this circumstance, the Court will deny Counsel’s Motion.3

                                                JURISDICTION

         This Court has jurisdiction of this matter by virtue of the provisions of 28 U.S.C.

 §§ 1334(a) and 157(a) and the referral made to this Court by Order from the District Court on

 June 28, 2017.

                                         CONCLUSIONS OF LAW

         The general rule in the United States is that every litigant must bear the expense of his

 own attorney’s fees. Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). However, the

 common fund doctrine “stands as a well-recognized exception to the general principle,” allowing

 “a litigant or a lawyer who recovers a common fund for the benefit of persons other than himself


 3
  For clarity, the Court will refer to the Bankruptcy Act of 1898 and its amendments as the “Bankruptcy Act,” and
 will refer to the current statutory scheme as it has evolved from the Bankruptcy Reform Act of 1978 forward as the
 “Bankruptcy Code.” Thus far, this case has proceeded governed by the Bankruptcy Act. However, because Counsel
 cites to numerous cases applying the Bankruptcy Code, the Court will address both statutory schemes in its analysis.

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 or his client . . . [to receive] a reasonable attorney’s fee from the fund as a whole.” Id. “It is

 founded upon the principle that when one who, while establishing his own claim, also establishes

 the means by which others may collect their claims, a chancellor in equity may award counsel

 fees to the trail blazer out of the property made available for the satisfaction of all claims.”

 Gibbs v. Blackwelder, 346 F.2d 943, 945 (4th Cir. 1965). Writing for the Fourth Circuit, Judge

 Haynsworth eloquently stated that courts apply the doctrine “so that the one who led in hewing

 the path to victory is not left saddled with extensive attorney’s fees, which need not be incurred

 by his more timid fellows who held back until the fruits of the pioneer’s success were laid before

 them.” Id. Rooted in principles of equity, “[t]he doctrine rests on the perception that persons

 who obtain the benefit of a lawsuit without contributing to its cost are unjustly enriched at the

 successful litigant’s expense.” Boeing, 444 U.S. at 478. Significantly, the common fund

 doctrine does not merely spread the cost of litigation among benefitting parties, but also allows

 an attorney to collect an extra award of fees. This is so even when the attorney is fulfilling the

 terms of the engagement with his own client. Vincent v. Hughes Air West, Inc., 557 F.2d 759,

 769–70 (9th Cir. 1977).

        Whether a court may apply the doctrine to allow fee enhancements in bankruptcy

 proceedings is a point of disagreement between the parties here. Courts have advanced the

 concept to varying degrees since the Supreme Court originally acknowledged its existence in

 Trustees v. Greenough, 105 U.S. 527 (1881). As Counsel noted in his supplemental brief,

 Greenough suggested that “the rule that a party who recovers a fund for the common benefit of

 creditors is entitled to have his costs and expenses paid out of the fund, prevails in bankruptcy

 cases.” Id. at 534. The Supreme Court’s comment, though, unfortunately provides little

 guidance as to when lower courts should apply the doctrine, especially considering Congress



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 later enacted sweeping changes to bankruptcy laws with the passage of the Bankruptcy Act in

 1898. Consequently, several courts have limited application of the common fund doctrine in

 bankruptcy matters—both in Act and Code cases—with some even suggesting that it has no

 application in bankruptcy cases at all. See, e.g., Stickney Corp. v. Chi. Milwaukee Corp. (In re

 Chi., Milwaukee, St. Paul & Pac. R.R. Co.), 840 F.2d 1308, 1318 n.9 (7th Cir. 1988) (“Although

 unnecessary to our decision, we also agree with the special master’s recommendation that the

 ‘common-fund’ doctrine does not operate to authorize the payment of fees or costs from the

 bankruptcy estate.”); Guerin v. Weil, Gotshal & Manges, 205 F.2d 302 (2d Cir. 1953) (“The

 principle of the Greenough case . . . is confined by the Act to the recovery of ‘reasonable costs

 and expenses’ where ‘the property of the bankrupt, transferred or concealed by him . . . shall

 have been recovered for the benefit of the estate . . . by the efforts and at the cost and expense of

 one or more creditors.’”); In re Chewning & Frey Sec., Inc., 328 B.R. 899, 919 (Bankr. N.D. Ga.

 2005) (“[T]he common fund doctrine contravenes the purpose and spirit of the Bankruptcy Code,

 and is inconsistent with statutory distribution scheme articulated therein.”); In re Maimone, 41

 B.R. 974, 984 (Bankr. D.N.J. 1984) (“The court concludes that it would be inappropriate to apply

 the equitable fund doctrine to a complex and protracted bankruptcy proceeding in which many

 parties have at various times advanced many Motions, Complaints, and positions. . . . This

 doctrine would encourage intermeddling by parties having a slight contingent interest in a case in

 the hope that they might be permitted to recover attorneys’ fees for the efforts. It is preferable, in

 the bankruptcy context, to have each party represent its own interests without such a distortion in

 incentives. Doubtless, the equitable fund doctrine may be applicable in an unusual case, but this

 is not such a case.”).




                                                   5

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        Given this context, it is not surprising that Counsel spends the majority of his Motion

 attempting to persuade the Court that the common fund doctrine is, in fact, applicable to

 bankruptcy cases. To that end, Counsel cites numerous cases he suggests show that the Court

 may and should award him a fee enhancement. He is correct that many other courts have either

 granted fee applications under the common fund doctrine, or at least recognized the doctrine’s

 utility in bankruptcy courts. See, e.g., Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268

 (9th Cir. 1989) (granting fees to counsel for the trustee); Gordon v. Internal Revenue Serv. (In re

 Johnson), 593 B.R. 895 (Bankr. N.D. Ga. 2018) (recognizing a creditor’s right to payment from

 estate funds for pre-petition litigation); Comm. of Creditors Holding Unsecured Claims v. Sable,

 Makoroff & Gusky, P.C. (In re Second Pa. Real Estate Corp.), 192 B.R. 663 (Bankr. W.D. Pa.

 1995) (awarding payment to counsel who negotiated a pre-petition settlement on behalf of the

 debtor); In re Farah, 141 B.R. 920 (Bankr. W.D. Tex. 1992) (granting a fee application for

 debtor’s counsel in a Chapter 11 case). Thus, insofar as Counsel argues that the common fund

 doctrine applies in bankruptcy court, the Court agrees and acknowledges that “exceptional

 circumstances” might occur in a bankruptcy case that warrant its use. As stated above, however,

 the issue here is not whether the common fund doctrine applies, but whether the Court has the

 authority to award Counsel fees from the estate in the circumstances of this case.

        A decision from the Seventh Circuit best illustrates this issue as it relates to the

 Bankruptcy Code. In re Fesco Plastics Corp., 996 F.2d 152 (7th Cir. 1993). In Fesco, the

 debtor filed its petition under Chapter 11 of the Bankruptcy Code. Id. at 153. Several creditors

 chose not to file proofs of claim because their claims were listed as undisputed, noncontingent,

 and unliquidated such that they were “deemed filed” under 11 U.S.C. § 1111(a). Id. at 153–54.

 When the court converted the case to Chapter 7, many of the creditors still did not file proofs of



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 claim because their claims were already “deemed filed.” Id. at 154. As no proofs of claim were

 filed, the trustee disputed their claims and the bankruptcy and district courts found that the

 creditors’ claims were barred. Id.

        As in this case, counsel for one group of the “deemed filed” creditors took the lead by

 appealing that determination to the Seventh Circuit and ultimately succeeded in showing that

 those creditors should recover equally to those with timely filed proofs of claim. Id. Counsel

 then sought payment under the common fund doctrine from the unrepresented “deemed filed”

 creditors on the theory that, “thanks to [him] their claims are now deemed filed, and they are

 recovering on those claims to the same extent as all other unsecured creditors.” Id. at 157.

        The court ultimately held that the common fund theory did not apply. In doing so, it

 highlighted the root of the problem in this case—that regardless of whether application of the

 common fund doctrine is proper, the Court cannot award fees without statutory authority:

        As noted earlier, § 105 of the Bankruptcy Code states that a bankruptcy court may
        exercise its equitable power only as necessary to carry out the provisions of the
        Code. The Code specifies when attorney’s fees may be awarded. See 11 U.S.C.
        327 to 330, 1103, 503(b)(4). Since none of these provisions applies to Wolff, it
        would seem that awarding fees under the common fund doctrine is beyond the
        bankruptcy court’s mandate. Wolff, however, maintains that it is within the
        bankruptcy court’s power because he seeks fees from the . . . creditors only, not
        from the estate, and therefore the Code’s provisions are completely irrelevant. In
        other words, the estate will not lose a dime by giving him fees out of the common
        fund; all he asks is that the court order the trustee to take the money out of the
        distributions for him. But a bankruptcy court is simply not authorized to do
        whatever is necessary to reach an equitable result; it may only do whatever is
        necessary to enforce the Code, and the Code does not address the situation here.
        Though it would obviously make Wolff’s life much easier if the trustee collected
        his fees for him, the mission of the bankruptcy court is to administer the estate under
        the Code, not to settle side issues between creditors.

 Id. Other courts have similarly declined to extend the reach of their equitable powers under

 § 105 to award fees not otherwise provided for in the Code. See Chiasson v. J. Louis Matherne

 & Assocs. (In re Oxford Mgmt., Inc.), 4 F.3d 1329, 1334 (5th Cir. 1993) (“[T]he powers granted

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 by [§ 105] must be exercised in a manner that is consistent with the Bankruptcy Code. . . . The

 ‘statute does not authorize the bankruptcy courts to create substantive rights that are otherwise

 unavailable under applicable law, or constitute a roving commission to do equity.’” (quoting

 United States v. Sutton, 786 F.2d 1305, 1308 (5th Cir. 1986))); In re Lloyd Secs., 163 B.R. 242

 (Bankr. E.D. Pa. 1994) (“[I]f the statute in issue does not expressly provide for same, the equities

 in favor of the party seeking compensation, even when aided by a broad statutory grant of

 residual equitable powers to the court as is provided in 11 U.S.C. § 105(a) of the Bankruptcy

 Code, cannot support the granting of compensation from other interested parties or the Debtor’s

 estate.”), rev’d in part, 183 B.R. 386 (E.D. Pa. 1995).

          This sentiment did not originate with the current Bankruptcy Code, however, as many

 decisions interpreting its precursor, the Bankruptcy Act, similarly limited fee awards for

 creditors’ attorneys. For example, Cox v. Elliott sought to determine “whether under the

 Bankruptcy Act . . . attorneys for creditors, not employed by the trustee nor authorized by the

 court, may be allowed fees to be paid out of the estate for services which benefit the creditors but

 do not augment the funds in the hands of the trustee.”4 Cox v. Elliott (In re Calhoun Beach Club

 Holding Co.), 122 F.2d 851 (8th Cir. 1941). Although Cox does not expressly implicate the

 common fund doctrine, it nonetheless addresses a court’s equitable powers and sheds light on the

 concerns later raised by Fesco with paying a creditor’s attorney from estate assets:

          It is conceded that the Bankruptcy Act makes no provision for the payment of
          counsel fees in ordinary bankruptcy proceedings to attorneys for creditors; but

 4
   With this statement, the Eighth Circuit highlights another concern this Court has in awarding fees under the
 common fund doctrine—namely, that Counsel did not, in fact, create or increase the fund at issue, but merely
 diverted assets for distribution from one class to another. See id. at 852 (“No assets were brought into this estate
 through petitioners’ (appellees’) efforts, and the only basis for an allowance to them is the fact that a net saving
 accrued to the estate as a result of the proceedings brought by them.”). Counsel’s efforts certainly increased the
 proposed distribution to unsecured creditors from the estate but, as in Cox, he did not alter the fund as it existed in
 the hands of the Trustee—he did not create the fund, add to the estate, or recover assets in which others will share.
 Thus, the Court questions whether or to what extent it should award a fee enhancement even if it had the authority to
 do so.

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         appellees contend, and the referee found, that the court “has inherent equitable
         power, in the absence of specific statutory authorization or inhibition to make an
         allowance out of the estate under the given circumstances.” We do not think so.
         “The Bankruptcy Act carefully regulates the compensation and expenses which
         may be allowed in bankruptcy.” . . . In the carefully worded allowances provided
         for in the Act “there is implied an exclusion of other allowances. . . . The present
         Bankruptcy Act plainly endeavors to restrict allowances from the bankrupt estate.”

 Id. at 852 (citations omitted).

         Numerous other Act-era decisions further support the Cox and Fesco holdings. See

 Leonard v. Joslyn (In re Joslyn), 224 F.2d 223, 225 (7th Cir. 1955) (“Attorneys may collect their

 fees from the bankrupt estate only as specifically provided by the Act. . . . The Act does not

 provide that attorneys for non-petitioning creditors may recover from the estate for the services

 rendered by appellants.”); Guerin, 205 F.2d at 304 (“‘It is well settled that the bankruptcy court

 lacks power to grant, and the policy of the Act is against, compensation not expressly provided

 by the Act.’ . . . Although it has been broadly stated that a bankruptcy court is a court of

 equity, . . . the exercise of its equitable powers must be strictly confined within the prescribed

 limits of the Bankruptcy Act . . . .” (citations omitted)); In re Roadarmour, 177 F. 379, 381 (6th

 Cir. 1910) (denying fees for a creditor’s attorney where the attorney could not identify any

 statutory authority in support of his application). But see In re Little River Lumber Co., 101 F.

 558 (W.D. Ark. 1900) (affirming a decision to award attorney’s fees even where counsel did not

 specify a provision of the Act allowing such compensation).

         It is also helpful to consider the words of a leading treatise on the Bankruptcy Act

 regarding what attorney’s fees are allowed under that body of law. Section 2667 of Remington

 on Bankruptcy appears to address this situation directly: “Although the services of an attorney

 employed to represent one creditor may actually have redounded to the benefit of a number of

 others, this is not, of itself, ground for assessing the charges either against the estate or the



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 group.” 6 James M. Henderson, Remington on Bankruptcy, § 2667 (5th ed. 1952). Additionally,

 § 2666 reiterates the principles espoused in Cox, stating “[u]nless they represent petitioning

 creditors as such in an involuntary case, or manage to be appointed attorney for the trustee or a

 receiver, [creditors’ attorneys] are not ordinarily entitled to any compensation allowance out of

 the funds [in bankruptcy].” Id. § 2666.

          Counsel does not address the Act or Code in his Motion and has not identified any

 provision that provides for payment of a non-petitioning creditor’s attorney’s fees from property

 of a Chapter 7 (or Chapter VII under the Act) debtor’s estate. Nor has the Court found such

 authority. Instead, Counsel cites numerous cases that address the common fund doctrine and

 asks the Court to find that his case is “more analogous to those cases where bankruptcy courts

 have granted fees based upon the common fund theory.”5 (ECF No. 91, at 4.) Reviewing those

 decisions, however, reveals that their outcomes do not conflict with the principles outlined

 above. For example, Counsel cites In re Churchfield Management & Investment Corp., 98 B.R.

 838 (Bankr. N.D. Ill. 1989), in which the court granted two common-fund fee applications for

 pre-petition and class-action counsel. However, it did so pursuant to § 330 of the Bankruptcy

 Code. See also In re Farah, 141 B.R. at 923–26 (granting a fee enhancement to debtor’s counsel

 under § 330); In re Paolino, 71 B.R. 576, 584 (Bankr. E.D. Pa. 1987) (considering an application

 for expense reimbursement under § 503 in relation to “fund in court” or common fund cases).




 5
   Counsel cited more than twenty-one cases in his supplemental brief, most of which only tenuously relate to the
 issue presented here. As mentioned above, Counsel appears to have cited a majority of these simply to illustrate that
 bankruptcy courts have considered the common fund doctrine in the past. Most, however, have facts wholly
 distinguishable from those in the present case—some merely mention the common fund doctrine as a consideration
 in fee applications and others deny fees requested under the doctrine. In fact, Counsel admits in his brief that many
 of the cases “contain a discussion of the common fund theory without ruling on its applicability to the case, or deny
 fees based on the common fund theory, but are distinguishable from the unique facts of this case.” (ECF No. 91, at
 2–3.) Although the Court has reviewed each of these cases, it will not provide a lengthy discussion regarding each,
 and will instead focus on those more relevant to the issue at hand.

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 Thus, the applicants in those cases did not merely rely on the courts’ equitable powers, but

 instead identified specific authority allowing the courts to grant the requested relief.

        Of the other cases Counsel cites in his favor, most contain facts easily distinguishable

 from this case. In In re Johnson, the court found that a pre-petition creditor, who succeeded in

 avoiding a transfer of property the debtor made prior to filing bankruptcy, was entitled to

 compensation under the common fund doctrine. 593 B.R. at 914. Although another party

 contended that recovery from the bankruptcy estate was “inconsistent with the scheme of

 distribution provided under federal bankruptcy law,” the court nonetheless allowed the fees. Id.

 at 913. Among other things, it noted that the creditor “did not intentionally assume the risk that

 any potential recovery would be insufficient to satisfy his claim or legal fees based on an

 administratively insolvent bankruptcy estate. . . . Here, [the creditor’s] attorney obtained an order

 setting aside the Transfer before the Debtor filed this case.” Id. at 913–14. Counsel here did not

 represent creditors pre-petition, but instead took on representation after commencement of the

 case, knowing full well the potential limitations on recovery.

        Several other cases on which Counsel relies involve attorneys representing debtors in

 various situations, not creditors. See, e.g., In re Second Pa. Real Estate Corp., 192 B.R. at 670

 (awarding fees under the common fund doctrine to counsel who represented a debtor in obtaining

 a pre-petition settlement); In re Willis, 143 B.R. 428 (Bankr. E.D. Tex. 1992) (granting fees to a

 Chapter 7 debtor’s nonbankruptcy counsel from funds obtained from the settlement of a personal

 injury lawsuit). Notably, both the Code and the Act provide mechanisms for debtors’ attorneys

 to be paid from assets of the estate.

        Counsel also cites a Ninth Circuit case that upheld an award of fees under the common

 fund theory in the bankruptcy context—C & E Enters., Inc. v. Milton Poulos, Inc. (In re Milton



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 Poulos, Inc.), 947 F.2d 1351 (9th Cir. 1991). Milton Poulos provides little factual context,

 however, and minimal discussion of its legal analysis. Based on the facts and analysis included

 in the decision of the bankruptcy court below, it appears the Ninth Circuit awarded fees from a

 PACA trust outside the bankruptcy estate. C & E Enters., Inc. v. Milton Poulos, Inc. (In re

 Milton Poulos, Inc.), 94 B.R. 648 (Bankr. C.D. Cal. 1988). In fact, the bankruptcy court

 expressly stated that the trust assets at issue were not part of the bankruptcy estate because the

 beneficiary of the trust was not a debtor in the case. Id. at 653. Thus, the decision is not

 persuasive here.6

          The Court agrees with the analysis in Cox and Fesco that it cannot abuse the equitable

 power Congress bestowed upon it to award fees for services outside the scope of applicable

 bankruptcy law. “Were it the law that creditors who voluntarily perform acts which prove to be

 beneficial to the estate should or must be allowed compensation, courts of bankruptcy would be

 confronted in many instances with numerous claims for compensation for ‘voluntary’

 assistance.” Cox, 122 F.2d at 852. Thus, even in the exceptional cases where a fee enhancement

 under the common fund doctrine is proper, the Court can grant such an enhancement only

 pursuant to statutory authority.

          As stated in Fesco, attorneys representing parties under the Bankruptcy Code may point

 to a number of provisions allowing fees to be paid from assets of the estate. See In re Fesco

 Plastics Corp., 996 F.2d at 157 (“The Code specifies when attorney’s fees may be awarded. See

 11 U.S.C. §§ 327 to 330, 1103, 503(b)(4).”). The same is true of the Bankruptcy Act. See 11


 6
   As mentioned above, several other cases Counsel cites lend little support to the Court in determining the proper
 outcome here. For example, Counsel also cites to Rohifard v. Brewer & Prichard, P.C. (In re ABC Dentistry), Adv.
 No. 18-3205, 2019 WL 913356 (Bankr. S.D. Tex. Feb. 21, 2019). Although Rohifard involves counsel for a
 creditor, counsel in that case represented the creditor in a qui tam action under the Texas False Claims Act pursuant
 to a contingency agreement. Moreover, while the opinion mentions fees awarded from a common fund, the fee issue
 was not before the court when it issued its decision. As a result, Rohifard provides little to no insight into how the
 court reached its decision to award fees and is not helpful here.

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 U.S.C. § 64(b)(3) (allowing “one reasonable attorney’s fee, for the professional services actually

 rendered, irrespective of the number of attorneys employed, to the petitioning creditors in

 involuntary cases”); In re Roadarmour, 177 F. at 380 (noting that “Section 64b2 of the bankrupt

 act provides that when property of the bankrupt transferred or sold by him shall have been

 recovered for the benefit of the estate . . . by the efforts, and at the expense of one or more

 creditors, the reasonable expenses of such recovery may be paid in full . . . .”); In re Little River

 Lumber Co., 101 F. at 559 (granting fees where the trustee “leaves it to a creditor of the estate to

 resist the allowance of a claim”).7 Significantly, no provision of the Act or Code appear to

 permit fees for creditor’s attorneys whose actions incidentally benefited some creditors, to the

 detriment of others, while pursuing their clients’ best interests.

          Counsel here did not represent a petitioning creditor8 or creditors’ committee. This is not

 a case like Little River Lumber Co. where the trustee declined to act, forcing Counsel to step in,

 nor did Counsel recover assets for the benefit of the estate as in Roadarmour. And, unlike the

 attorneys in the cases cited in his brief, Counsel does not pursue a right to payment for pre-

 petition services, nor has he served as counsel for the Trustee or the Debtor. Instead, Counsel

 urges the Court to find generally that his case is most analogous to those in which courts have

 applied the common fund theory. However, the Court is not persuaded by this generalization.

 “As in much else that pertains to equitable jurisdiction, individualization in the exercise of a

 discretionary power will alone retain equity as a living system and save it from sterility.”

 Sprague v. Ticonic Nat’l Bank, 307 U.S. 161, 167 (1939). Reviewing the facts specific to this


 7
   As Congress amended the Act, it added provisions to allow fees in additional situations; however, those
 amendments occurred after the filing of this case and, regardless, would not apply to Counsel’s services. See, e.g.,
 11 U.S.C. § 739 (1967) (providing for certain payments to attorneys representing creditors’ committees in Chapter
 XI); 11 U.S.C. §§ 642, 643 (1938) (allowing fees for some actions taken by counsel for creditors in Chapter X
 cases); 11 U.S.C. § 205 (1933) (allowing reasonable compensation for services in connection with a plan of
 reorganization for railroads).
 8
   The record indicates that White Oak Lumber Company was the sole petitioning creditor in this case.

                                                          13

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 case, the Court finds that it cannot award the fee requested. This Court’s equitable powers are

 restrained in this case by the terms of the Bankruptcy Act. As stated above, even if the Court

 applied the Bankruptcy Code, no provision of that statute allows payment of the fees requested

 here from estate assets. Accordingly, without the statutory power to order payment to Counsel

 from estate funds, the Court is unable to grant the fee enhancement Counsel seeks. The Court

 will deny the Motion, leaving Counsel to recover under the terms of the fee arrangement

 negotiated with his clients.9

                                                  CONCLUSION

          For the foregoing reasons, the Court finds that neither the Bankruptcy Act nor the

 Bankruptcy Code provide the Court with the authority to grant Counsel’s requested fee

 enhancement in this case, and Counsel’s Motion will be denied.

          A separate Order will be entered contemporaneously herewith.




 9
   The Court is not unsympathetic to Counsel’s request in this case. But for the lack of statutory authority, this may
 well be a case where counsel would deserve a fee enhancement for his work. This is not to say, however, that the
 full requested fee would be proper. Without limitation, the Court has concerns regarding Counsel’s timekeeping
 methods. Specifically, his records indicate that his office billed in quarter-hour increments, which generally
 overstates the time expended. See In re Computer Learning Ctrs., 285 B.R. 191, 218 (Bankr. E.D. Va. 2002).
 Counsel routinely represents debtors in reorganization cases before this Court and bills in tenth of an hour
 increments, which is in accord with the Court’s expectations and UST guidelines. Additionally, Counsel included
 over seventeen hours of time billed by an associate at his firm but attributed all of that time to developing this fee
 application and argument. The Court questions whether it is appropriate to require unrepresented creditors to foot
 the bill for time Counsel spent arguing that said creditors should be responsible for funding Counsel’s fee
 enhancement. See In re Churchfield Mgmt. & Inv. Corp., 98 B.R. at 858 (“[A]ttorneys seeking fees from a common
 fund are not entitled to compensation for time spent preparing and litigating fee petitions.”). Even if a lodestar
 multiplier cross-check were applied to Counsel’s fee request, the Motion provides a deficient starting point.

                                                          14

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 SIGNED THIS 15th day of July, 2019

  THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
  PLEASE SEE DOCKET FOR ENTRY DATE.




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  ROANOKE DIVISION

 In re:                                        )
                                               )       CHAPTER VII
 YELLOW POPLAR LUMBER                          )
 COMPANY, INC.                                 )
                                               )       CASE NO. 17-70882
                                               )
          Debtor.                              )

                                               ORDER

          For the reasons set forth in the Court’s contemporaneous Memorandum Opinion, which

 are incorporated herein by reference, it is hereby

          ORDERED that the Motion to Approve Attorney Fees Pursuant to the Common Fund

 Theory is hereby DENIED.

          The Clerk is directed to send a copy of this Order and the Memorandum Opinion to all

 creditors and parties in interest on the matrix provided in this case, the United States Trustee, the

 Chapter 7 Trustee, and Robert T. Copeland, Esquire, counsel for the heirs of Daniel von Bremen

 and Willie Johnson.

                                         **END OF ORDER**




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION


 IN RE:
                                                                  Chapter 7
        YELLOW POPLAR LUMBER                                   Case No. 17-70882
        COMPANY, INC.
            Debtor

                               NOTICE OF APPEAL TO THE
                             UNITED STATES DISTRICT COURT


        Robert T. Copeland and Copeland Law Firm, P.C. appeal to the United States District Court

 for the Western District of Virginia from the Order entered on July 15, 2019 [Docket Entry No. 101]

 by the Honorable Paul M. Black, Judge, United States Bankruptcy Court for the Western District of

 Virginia.

        The Parties to the Order appealed from and the names and addresses of their respective

 attorneys are as follows:

 Robert T. Copeland, Esq., Appellant
 COPELAND LAW FIRM, P.C, Appellant

 Robert T. Copeland, Esq.,
 COPELAND LAW FIRM, P.C.
 212 Valley Street, NW
 P.O. Box 1296
 Abingdon, VA 24212
 (276) 628-9525
 Counsel for Appellants



 John M. Lamie, Esq., Trustee, Appellee
 BROWNING, LAMIE & GIFFORD, P.C.
 P.O. Box 519
 Abingdon, VA 24212
                                                 1




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 (276) 628-6165
 Counsel for Appellees

                                               Robert T. Copeland, Esq.,
                                               COPELAND LAW FIRM, P.C
                                               By Counsel

 /s/ Robert T. Copeland
 Robert T. Copeland, VSB #14575
 COPELAND LAW FIRM, P.C.
 P.O. Box 1296
 Abingdon, VA 24212-1304
 (276) 628-9525
 Counsel for Appellant



                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing Notice of Appeal was this date uploaded
 and filed with the United States Bankruptcy Court via the Court’s ECF system, and true copies of
 the same were mailed via first class mail, postage prepaid, to John M. Lamie, Esq. and to the United
 States Trustee.

        Date: July 26, 2019

                                                      /s/Robert T. Copeland
                                                      Robert T. Copeland




                                                  2




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA


      In re:   Yellow Poplar Lumber Company, Inc.                  CASE NO.           17-70882
                        DEBTOR(S)
                                                                   CHAPTER            7

               Robert T. Copeland

                         APPELLANT(S)

               v.

               John M. Lamie

                     APPELLEE(S)

                                            NOTICE OF FILING APPEAL

           Pursuant to Federal Rules of Bankruptcy Procedure 8001, et seq., a Notice of Appeal was filed in the

 above-styled matter on 7/26/2019.

           Your attention is directed to the Federal Rules of Bankruptcy Procedure and the Local Rules of Court.


           Dated: July 29, 2019

                                                                JAMES W. REYNOLDS
                                                                CLERK OF COURT


                                                                BY: /s/Laurrie Morris
                                                                              Deputy Clerk



 Copies to:         Attorney for Appellant
                    Attorney for Appellee
                    U. S. Trustee, if applicable
                    Case Trustee
                    Bankruptcy Judge
                    Law Clerk




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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION


 IN RE:
       YELLOW POPLAR LUMBER        Chapter 7 Case No.
       COMPANY, INC.                  17-70882
             Debtor
 _______________________________________________________
 ROBERT T. COPELAND
 AND
 COPELAND LAW FIRM, P.C.
       Appellants

 v.

 JOHN M. LAMIE, Chapter 7 Trustee
      Appellee

                        DESIGNATION OF CONTENTS FOR INCLUSION
                          IN RECORD ON APPEAL AND STATEMENT
                                  OF ISSUES ON APPEAL

            Robert T. Copeland and Copeland Law Firm, P.C., the Appellants herein, hereby file the

 following Designation of Contents for Inclusion in Record on Appeal and Statement of Issues on

 Appeal. The following contents shall be included in the Record on Appeal:


            Docket Number               Description


      (1)         85                    Application for Compensation under the Common Fund
                                        Theory filed by Copeland Law Firm, P.C.

      (2)         91                    Supplement to the Motion to Approve Attorney’s Fees
                                        Pursuant to the Common Fund Theory filed by Copeland
                                        Law Firm, P.C.

      (3)         92                    Response filed by John M. Lamie, Trustee, to the
                                        Application for Compensation of Copeland Law Firm, P.C.

                                                  1




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    (4)         93                     Response filed by Copeland Law Firm, P.C. to the
                                       Trustee’s Response to its Application for Compensation

    (5)         100                    Memorandum Opinion

    (6)         101                    Order Denying Application for Compensation

    (7)         104                    Notice of Appeal



                                       ISSUES ON APPEAL

          Appellants Robert T. Copeland and Copeland Law Firm, P.C. believe the following are

 the issues on appeal:

          1.     Does the Bankruptcy Act of 1898 or the United States Bankruptcy Code permit

 attorney’s fees to be awarded under the Common Fund Theory?

          2.     Was it appropriate to award fees under the Common Fund Theory as a result of the

 increase in distributions to unsecured creditors?

                                                             ROBERT T. COPELAND
                                                             COPELAND LAW FIRM, P.C.
                                                                  Appellants


 /s/ Robert T. Copeland
 Robert T. Copeland, VSB #14575
 COPELAND LAW FIRM, P.C.
 P.O. Box 1296
 Abingdon VA 24212
 (276) 628-9525
 Counsel for Appellants



                                   CERTIFICATE OF SERVICE

         I, Robert T. Copeland, do hereby certify that the foregoing Designation of Contents for
 Inclusion in Record on Appeal and Statement of Issues on Appeal was this date filed with the United
                                                     2




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 States Bankruptcy Court through its ECF system, thereby causing an electronic copy to be
 transmitted to John M. Lamie, Esq., Trustee, Appellant.

       Date: August 6, 2019

                                                       /s/Robert T. Copeland




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